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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------X
 UNITED STATES OF AMERICA,

         -against-                                 MEMORANDUM AND ORDER

                                                   10-CR-627 (KAM)
 COURTNEY DUPREE, THOMAS FOLEY, AND
 RODNEY WATTS,

                     Defendants.
 -----------------------------------X

 MATSUMOTO, United States District Judge:

                                INTRODUCTION

             A four-count indictment (“Indictment”), filed August

 13, 2010, charges defendants Courtney Dupree (“Dupree”), Thomas

 Foley (“Foley”) and Rodney Watts (“Watts”)1 (together,

 “defendants”) with one count of Conspiracy to Commit Bank, Mail

 and Wire Fraud in violation of 18 U.S.C. §§ 1349,2 3551 et seq.,3

 one count of Bank Fraud in violation of 18 U.S.C. §§ 1344,4 2,5

             1
               Defendant Frank Patello was also named in the Indictment and
 pleaded guilty to Count One on September 24, 2010. (See ECF Docket 10-CR-
 709, No. 4, Minute Entry dated Sept. 24, 2010.)
             2
               18 U.S.C. § 1349 provides that the penalties for conspiracy
 match those for the substantive underlying offense.
             3
               18 U.S.C. § 3551 et seq. generally provides penalties for
 offenses described in federal statutes.
             4
               18 U.S.C. § 1344 provides that “[w]hoever knowingly executes, or
 attempts to execute, a scheme or artifice--(1) to defraud a financial
 institution; or (2) to obtain any of the moneys, funds, credits, assets,
 securities, or other property owned by, or under the custody or control of, a
 financial institution, by means of false or fraudulent pretenses,
 representations, or promises” is punishable by fine and imprisonment.
             5
               18 U.S.C. § 2 provides that “whoever . . . aids, abets,
 counsels, commands, induces or procures [the] commission” of an act or
 “willfully causes an act to be done” against the United States is punishable
 as a principal.

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 3551 et seq., and two counts of making False Statements, in

 violation of 18 U.S.C. §§ 1014,6 2, 3551 et seq.             (See ECF No.

 22, Indictment (“Indictment”).)        Defendant Dupree was the

 president and chief executive officer of GDC Acquisitions, LLC

 (“GDC”), and at different times relevant to the Indictment,

 defendant Foley was GDC’s outside counsel and its chief

 operating officer and defendant Watts was GDC’s chief financial

 officer and chief investment officer.         (Indictment at ¶¶ 2, 3,

 4.)

             All defendants move (1) for an order seeking relief

 from the July 27, 2010 seizure of funds from bank accounts at

 J.P. Morgan Chase held by GDC and/or its subsidiaries; (2) to

 suppress evidence seized at the offices of GDC and its

 subsidiaries pursuant to a search warrant executed on July 23,

 2010; and (3) for relief, including dismissal of the Indictment,

 due to alleged prosecutorial misconduct.          The government opposes

 the motions.    The court has carefully reviewed the parties’

 submissions, and for the reasons set forth below, defendants’

 motions seeking relief from the seizure of funds are denied.

 Defendants’ motions to suppress evidence seized during the

 search of the offices of GDC and its subsidiaries are denied.

 Defendants’ motions to dismiss the Indictment are also denied.


             6
               18 U.S.C. § 1014 provides that “[w]hoever knowingly makes any
 false statement or report . . . for the purpose of influencing in any way the
 action of” a federal agency, is punishable by fine and imprisonment.

                                       2
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                                 BACKGROUND

            I.    Charges

            The allegations in the Indictment, the Complaint and

 the submissions of the government are as follows:

            Between January 2007 and July 2010, defendants Dupree,

 Foley and Watts allegedly orchestrated a scheme to defraud

 Amalgamated Bank (“Amalgamated”), a financial institution, the

 deposits of which were insured by the Federal Deposit Insurance

 Corporation, and C3 Capital, LLC, a private equity investment

 firm (“C3 Capital”), by obtaining, and attempting to obtain,

 loans for GDC and its subsidiaries JDC Lighting, LLC, Unalite

 Electric and Lighting, LLC, and Hudson Bay Environments Group,

 LLC, TDC Acquisitions, LLC, Interconnect Lighting, LLC, Image

 Lighting Services, LLC, Image Lighting, LLC, Image Lighting

 Corp., Unalite Southwest, LLC, Unalite NJ, LLC, and Unalite

 Distribution, LCC (collectively, the “subsidiaries”) on the

 basis of false financial statements and other material

 misrepresentations.     (Indictment at ¶¶ 1, 8; ECF No. 1,

 Complaint and Affidavit in Support of Application for Arrest

 Warrants (“Shea Complaint Aff.”) at ¶ 3 n.2.)            Specifically, on

 or about August 29, 2008, the subsidiaries and Amalgamated Bank

 allegedly entered into an agreement under which the subsidiaries

 could borrow up to $21 million from Amalgamated Bank through a

 revolving credit loan and a term loan (“Agreement”), both of

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 which loans were guaranteed by GDC.         (Indictment at ¶ 9.)         Under

 the terms of the Agreement, the subsidiaries pledged their

 accounts receivable as security for the loans.               (Id. at ¶ 10.)

 The Agreement further permitted the subsidiaries to borrow an

 amount equal to the sum of 75 percent of the subsidiaries’

 eligible accounts receivable plus the current value of the

 subsidiaries’ inventory.      (Id.)   The Agreement required that the

 subsidiaries submit Borrowing Base Certificates (“BBCs”),

 certified as accurate by GDC, to Amalgamated Bank each month

 stating the total value of both the subsidiaries’ accounts

 receivable and their current inventory so that Amalgamated Bank

 could determine the amount that the subsidiaries could borrow in

 any given month.    (Id.)

            According to the Indictment, the defendants allegedly

 “deliberately and falsely overstated the accounts receivable on

 the consolidated financial statements and BBCs that they

 supplied to Amalgamated Bank.       They achieved this result by a

 variety of means, including: (a) booking fictitious sales,

 thereby creating fictitious accounts receivable; (b) ‘re-aging’

 the accounts receivable by issuing credits for old sales

 invoices, then re-booking the sales so that they appeared to

 have been incurred more recently, and were thus more valuable;

 (c) prematurely recognizing sales and the corresponding revenue,

 thereby creating accounts receivable before the appropriate time

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 under generally accepted accounting principles; and (d) failing

 to reduce the accounts receivable with cash received from

 customers, and instead improperly booking the cash in another

 line item on the balance sheet.”         (Id. at ¶ 12.)

            In addition, the Indictment charges that the Agreement

 limited the ability of GDC and the subsidiaries to make new

 capital investments while the loan was outstanding and required

 GDC to maintain a debt to equity ratio of not more than 3 to 1.

 (Id. at ¶ 13.)    The Indictment charges that the defendants

 further defrauded Amalgamated Bank by covertly purchasing Image

 Lighting, Inc. (“Image Lighting”) contrary to the terms to the

 terms of the Agreement.      (Id.)

            Finally, the Indictment charges that between October

 2008 and October 2009, defendants “attempted to obtain

 approximately $5 million in funding from C3 Capital by

 submitting false financial statements and accounts receivable

 aging reports that inflated GDC’s accounts receivable,” but C3

 Capital ultimately did not lend money to GDC or the

 subsidiaries.    (Id. at ¶ 14.)

            II.   Search Warrant

            On July 21, 2010, the government applied for a warrant

 to search the offices of GDC and its subsidiaries at 47-07 32nd

 Place, Long Island City, New York (the “subject premises”).

 (ECF No. 56, Executed Search Warrant, filed July 27, 2010 (the

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 “search warrant”).)     Exhibit A to the search warrant set forth

 the following list of items to be seized and the search, seizure

 and removal procedures for computerized electronic data:

            1. The items to be seized are evidence or
            instrumentalities of violations of 18 U.S.C. §§ 1341,
            1343, 1344 and 1349, specifically:

                 a. All documents or other materials relating to
            loans or other extensions of credit to GDC
            Acquisitions, Inc. (“GDC”) and its subsidiaries,

                  TDC Acquisitions, LLC,
                  Interconnect Lighting, LLC,
                  Image Lighting Services, LLC,
                  Image Lighting, LLC,
                  Image Lighting, Inc.,
                  Hudson Bay Environments Group,
                  LLC Unalite Electric & Lighting, LLC,
                  Unalite Southwest, LLC,
                  Unalite NJ, LLC,
                  Unalite Distribution, LLC, and
                  JDC Lighting, LLC,

            (collectively, the “Subsidiaries”), such as loan
            agreements, loan applications, Borrowing Base
            Certificates, and other documents provided to
            creditors in support of extensions of credit from the
            following entities:

                  MVC Capital, Inc.,
                  C3 Capital LLC,
                  Steelcase Inc.,
                  Steelcase Financial Services, Inc., and
                  Amalgamated Bank,

            (collectively, the “Creditors”), and all bank records,
            including, but not limited to, account statements and
            documents related to transactions in bank accounts
            such as canceled checks and wire transfer records, for
            the period from January 1, 2006 to the present;

                 b. All documents relating to assets, liabilities,
            income, expenses, sales and accounts receivable of GDC
            or the Subsidiaries, including, but not limited to,

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            accounting records, general ledgers, work papers,
            journals relating to the receipt or disbursement — or
            anticipated receipt or disbursement — of money or
            property, financial statements, trial balances,
            records detailing the relative age of various accounts
            receivable, invoices, and federal and state tax
            records (including income tax records), for the time
            period from January 1, 2006 to the present;

                 c. All documents relating to any mail box located
            at a commercial mail receiving agency, including, but
            not limited to, customer applications and
            correspondence;

                 d. All documents relating to communications or
            contacts between the conspirators and any of their
            principals, employees, or agents, or the Creditors,
            including, but not limited to, letters, phone
            messages, e-mail, text messages, “chat,” or instant
            messages, including any attachments to such e-mails or
            messages, sent by or received by the user(s) of any
            computer located at the SUBJECT PREMISES, whether
            saved or deleted, and whether contained directly in
            an e-mail, text message, chat, or instant message
            account or in a customized “folder”;

                 e. All documents relating to the conspirators’,
            or any of their principals’, employees’, or agents’
            calendar, contact, or personal planner data or files
            including, but not limited to, data contained in
            Outlook, Lotus Notes, or Eureka, created or maintained
            by the user(s) of any computer located at the SUBJECT
            PREMISES.

            2. The search procedure for electronic data contained
            in computer operating software or memory devices,
            whether performed on site or in a laboratory, or other
            controlled environment, may include seizure of any
            computer or computer-related equipment or data,
            including floppy diskettes, fixed hard drives, or
            removable hard disk cartridges, software or memory in
            any form containing material described above, and the
            removal thereof from the SUBJECT PREMISES for analysis
            by authorized personnel.




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            The government supported its search and seizure

 warrant request with an affidavit from FBI Special Agent Gavin

 Shea, which alleged that “there is probable cause to believe

 that there is presently located within the SUBJECT PREMISES

 evidence and instrumentalities, as set forth in Exhibit A to the

 Search Warrant attached hereto, of violations of federal law,

 including violations of 18 U.S.C. §§ 1341, 1343, 1344, 1349.”

 (ECF No. 55, Affidavit in Support of Application for Search and

 Seizure Warrants, dated July 21, 2010 (“Shea Aff.”) at ¶ 11.)

 The Shea Affidavit also incorporated as Exhibit E thereto the

 Complaint and Affidavit in Support of Application for Arrest

 Warrants of the defendants and Frank Patello, which described

 the alleged fraudulent scheme in detail.          (ECF No. 55, Ex. E,

 Complaint and Affidavit in Support of Application for Arrest

 Warrants (“Shea Complaint Aff.”).)

            In the affidavits he submitted, Agent Shea described

 his professional qualifications: he is a certified public

 accountant and has worked with the FBI over the past twelve

 years investigating “white collar crime, including bank fraud,

 securities fraud, telemarketing fraud, money laundering schemes,

 and other types of schemes.”      (Shea Aff. at ¶ 1.)         The affidavit

 also described the appearance, location and layout of the

 subject premises occupied by GDC and its subsidiaries (Shea Aff.

 at ¶¶ 3, 4), and provided factual support for the government’s

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 position that there was probable cause to search the subject

 premises.   Specifically, Special Agent Shea relied on a

 confidential source (“CS-1”) to support probable cause to issue

 the search and seizure warrants.         (Shea Aff. at ¶¶ 6, 7, 8.)

             Special Agent Shea affirmed that based upon “the

 information set forth and incorporated . . ., [his] training,

 experience, and participation in this and other financial crime

 and money-laundering investigations, and [his] conversations

 with other law enforcement officers, there is probable cause to

 believe that the SUBJECT PREMISES is being used by the

 conspirators for the storage of various financial records and

 documents relating to bank fraud, mail fraud, and wire fraud.”

 (Shea Aff. at ¶ 9.)     Special Agent Shea set forth the type of

 documents and records that “persons who commit frauds such as

 this one often maintain.”      (Shea Aff. at ¶ 10.)          Special Agent

 Shea affirmed that in executing the warrant, law enforcement

 officers would “make every effort to ‘image’ or copy GDC’s

 original computer servers in such a way that [they would] not

 have to seize them,” but also requested authority to “search,

 copy, image and seize the computer hardware (and associated

 peripherals)” and set forth different search techniques.              (Shea

 Aff. at ¶¶ 13, 14.)

             On July 21, 2010, Magistrate Judge Go signed the

 warrant to search GDC’s offices at 47-07 32nd Place, Long Island

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 City, New York 11101.       (ECF No. 56, Executed Search Warrant,

 filed July 27, 2010.)       Judge Go ordered that “the search of

 computers and electronic devices should be in accordance with

 the procedures set forth in the affidavit of Agent Shea.”            (Id.)

             The search warrant was executed on July 23, 2010.            The

 government seized approximately 188 boxes of documents, images

 of the company’s computer servers, and images of desktop

 computers and other electronic storage devices on the premises.

 (See id.)

             III. Seizure Warrants

             On July 21, 2010, the government also applied for

 seizure warrants.     The government sought to seize funds in

 Amalgamated Bank accounts held by GDC and the subsidiaries.

 (ECF No. 57, Seizure Warrant, dated July 21, 2010.)           In support

 of its application for seizure warrants, the government

 submitted several affidavits from Special Agent Shea.           In his

 Affidavit in Support of Application for Search and Seizure

 Warrants, discussed above, which also incorporated the Complaint

 Affidavit, Special Agent Shea affirmed that there “is probable

 cause to believe that any and all funds on deposit in the

 accounts listed below and in Exhibit B to this affidavit

 (collectively, the “SUBJECT ACCOUNTS”) are subject to forfeiture

 pursuant to Title 18, United States Code, sections 981(a)(1)(C),

 981(a)(1)(D), 982(a)(2), and Title 28, United States Code

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 section 2461, as representing property which constitutes or is

 derived from proceeds traceable to a conspiracy to commit bank

 fraud, mail fraud, and wire fraud contrary to Title 18, United

 States Code, Sections 1344 (bank fraud), 1341 (mail fraud), and

 1343 (wire fraud), respectively, all specified unlawful

 activities.”    (Shea Aff. at 2.)

             In addition to his Affidavit in Support of Application

 for Search and Seizure Warrants dated July 21, 2010, Agent Shea

 also submitted additional affidavits in support of the seizure

 warrants that were ultimately issued on July 23 and July 27,

 2010 to seize funds in GDC’s and its subsidiaries’ accounts at

 Amalgamated Bank and J.P. Morgan Chase Bank.         (See ECF No. 58,

 Affidavit in Support of Application for Seizure Warrants, dated

 July 23, 2010 (“7/23/10 Shea Seizure Aff.”); Declaration of

 Marion Bachrach (“Bachrach Decl.”), Ex. E (same); Ex. F,

 Affidavit in Support of Application for Seizure Warrants, dated

 July 27, 2010 (“7/27/10 Shea Seizure Aff.”).)         In these

 affidavits, Special Agent Shea provided the source of his

 information and his grounds for believing probable cause existed

 to seize the funds, including setting forth details of the

 scheme to defraud and the fraudulent financial statements.

 (Shea Aff. at ¶ 7; see also 7/23/10 and 7/27/10 Shea Seizure

 Affs.)    Following the government’s execution of the search and

 seizure warrants on July 23, 2010, and in further support of

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 probable cause, Special Agent Shea affirmed that “[a]fter being

 placed under arrest, PATELLO, [GDC’s] controller and chief

 financial officer (“CFO”), confirmed the statements of the CS-1

 and stated that the fraud proceeds were initially deposited into

 an account held by GDC and then dispersed throughout the Subject

 Accounts as needed to run GDC and its subsidiaries.            PATELLO

 further stated that the Additional Subject Accounts received

 fraud proceeds through the same process.         Specifically, PATELLO

 stated that the money was distributed to all other accounts held

 at Amalgamated and Chase Banks including Unalite accounts in

 Texas.”    (7/23/10 and 7/27/10 Shea Seizure Affs. at ¶ 32.)

             Magistrate Judge Go signed two seizure warrants for

 accounts at Amalgamated and J.P. Morgan Chase Bank on July 21,

 2010, and limited the seizures to $21,000,000.            (ECF No. 57,

 Seizure Warrants, dated July 21, 2010 (“7/21/10 Seizure

 Warrants”); see also Bachrach Decl., Ex. A.)         Pursuant to these

 seizure warrants, sixteen bank accounts at Amalgamated were

 seized on July 23, 2010.      (7/23/10 Shea Seizure Aff. at ¶ 3.)          A

 second seizure warrant for five additional bank accounts at

 Amalgamated was signed by Judge Reyes on July 23, 2010.             The

 government subsequently learned that the additional bank

 accounts and one of the original subject accounts were held at

 J.P. Morgan Chase Bank rather than at Amalgamated Bank as listed

 in the warrant.     (7/27/10 Shea Seizure Aff. at ¶ 3; see also ECF

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 No. 100, Memorandum of Law in Opposition to Defendants’ Motion

 Opposing Government’s Seizure and Restraint of Funds (“Govt.

 Seizure Opp.”), at 3 n.2.)       Accordingly, on July 27, 2010,

 Magistrate Judge Reyes reissued the seizure warrant authorizing

 seizure of funds held at J.P. Morgan Chase Bank by Unalite

 Southwest LLC and Unalite NY, LLC (the “Chase accounts”).            (ECF

 No. 60, Seizure Warrant, dated July 27, 2010.)

             Upon Amalgamated’s request, on August 2, 2010, the

 government informed Amalgamated that it had decided to return

 the seizure warrant as unexecuted as to the funds in the

 Amalgamated accounts.       (See generally ECF No. 100, Govt. Seizure

 Opp., at 5.)    According to the government, the only funds that

 currently remain under the government’s control (the “restrained

 funds”) are approximately $1,000,556 from the Chase accounts,

 which were seized pursuant to the July 27, 2010 warrant.            (Id.

 at 5-6.)

             In a separate state court proceeding initiated by

 Amalgamated, by Order to Show Cause dated August 4, 2010, New

 York Supreme Court Justice Shirley Werner Kornreich granted

 Amalgamated’s request, inter alia, for an order temporarily

 restraining defendants, GDC and its affiliates, from “moving,

 removing, transferring, encumbering . . . assets . . . and . . .

 books [and] records . . . other than in the ordinary course of

 business. . . .”     (ECF No. 100, Ex. F, Order to Show Cause

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 Appointing Temporary Receiver, dated Aug. 4, 2010, at ¶ 21.)

 Justice Kornreich also ordered that all funds in the Chase

 accounts be deposited into the Amalgamated Bank account.            (Id.

 at ¶ 24.)

              On August 8, 2010, counsel for defendant Dupree

 contacted AUSA Evan Weitz to discuss making funds in the Chase

 accounts available for use by GDC.        (ECF No. 91-5, Affidavit of

 Roscoe C. Howard, Jr. (“Howard Aff.”) at ¶¶ 20, 23.)           According

 to defendants, AUSA Weitz advised Dupree’s counsel that the

 government intended to freeze the approximately $700,000 in the

 Chase accounts in contemplation of forfeiture, but that the

 government would release the funds in the Chase accounts on the

 condition that the funds be transferred to an account at

 Amalgamated and that Amalgamated agree to the transfer of such

 funds.    (Howard Aff. at ¶ 24.)

              On August 17, 2010, defense counsel asked Amalgamated

 to make funds in the Chase accounts available to GDC to pay

 bills such as payroll, rent, taxes, legal fees, and D&O

 insurance.    (Howard Aff. at ¶ 25.)      One week later, on August

 24, 2010, Amalgamated released funds for the August 13, 2010

 payroll that had passed.      (Howard Aff. at ¶ 13.)      According to

 defendants, since that time, Amalgamated has refused to disperse

 any additional funds (Howard Aff. at ¶ 16), GDC laid off almost



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 all of its employees and the business operations of GDC have

 effectively been terminated (Howard Aff. at ¶ 18).



                                  DISCUSSION

             Defendants now make the following motions: (1) to

 vacate the seizure warrants and release the funds in the Chase

 accounts pursuant to Fed. R. Crim. P. 41(g), and request (a) an

 evidentiary hearing regarding issues of fact relating to the

 seizures pursuant to Rule 41(g), (b) a hearing pursuant to

 Franks v. Delaware, 438 U.S. 154 (1978), and (c) a hearing

 pursuant to United States v. Monsanto, 924 F.2d 1186 (2d Cir.

 1991) (“Monsanto IV”);7 (2) to suppress evidence seized pursuant

 to the search warrant executed on July 23, 2010 at GDC’s

 premises pursuant to Fed. R. Crim. P. 12(b)(3)(C) and 41(h); and

 (3) to dismiss the four-count Indictment pursuant to Fed. R.

 Crim. P. 12(b) based on prosecutorial misconduct.            Defendants’

 motions are predicated on their arguments that the government’s

 search and seizures were not authorized by law and violated the

 Constitution.     The court addresses each motion below.




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               Defendants have framed this motion as a “Motion Opposing
 Government’s Unconstitutional and Unlawful Seizure and Restraint of Funds.”
 (See ECF No. 89, Notice of Motion.)

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       I.    Defendants’ Motions Opposing Seizure of Funds

             a. Standard

             As discussed below, in order for property to be

 seized, the government must have probable cause to believe that

 the seized property is subject to forfeiture.         See 18 U.S.C.

 §§ 981, 982; 21 U.S.C. § 853(f); 28 U.S.C. § 2461(c).           To

 demonstrate probable cause, the government must establish a

 nexus between the property and the illegal activity.           See Fed.

 R. Crim. P. 32.2(b); United States v. Galestro, No. 06-CR-285,

 2008 U.S. Dist. LEXIS 53834, at *32 (E.D.N.Y. July 15, 2008).

             b. Application

             Defendants Dupree and Watts argue that (1) the

 government failed to establish probable cause for the seizure of

 funds; (2) the government cannot seize or restrain assets prior

 to trial pursuant to 28 U.S.C. § 2461; (3) defendants were

 deprived of due process because they were not given notice or an

 opportunity to be heard prior to the government’s seizure of

 funds; (4) the government’s seizure of funds should be vacated

 based on “false statements and omissions” in the government’s

 affidavits in support of the seizure warrants, and that they are

 entitled to an evidentiary hearing pursuant to Franks v.

 Delaware, 438 U.S. 154 (1978), to determine if the alleged false

 statements and omissions “were intentional and reckless and

 necessary to a determination of probable cause”; and (5)

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 defendant Watts is entitled to a hearing pursuant to United

 States v. Monsanto, 924 F.2d 1186 (2d Cir. 1991) (“Monsanto

 IV”), to determine whether “he is entitled to use seized funds

 of the businesses that employed him in order to pay for his

 defense.”    (See generally ECF No. 90, Memorandum of Law in

 Support of Motion by Defendants Watts and Dupree Opposing

 Government’s Unconstitutional and Unlawful Seizure and Restraint

 of Funds (“Defs. Seizure Mem.”).)         Defendant Foley joins this

 motion.    (See ECF No. 94, Declaration of Joseph W. Ryan, Jr.

 (“Ryan Decl.”), at ¶ 2.)

             In opposition, the government asserts that (1)

 defendants do not have standing to seek the return of the seized

 funds; (2) the government met its burden to establish probable

 cause for the issuance of seizure warrants; (3) 28 U.S.C. § 2461

 allows for pretrial seizure of funds; (4) defendants were

 afforded all appropriate due process in the seizure of the fraud

 proceeds; (5) defendants are not entitled to a Franks hearing;

 and (6) defendant Watts is not entitled to a Monsanto hearing.

 (See generally ECF No. 100, Govt. Seizure Opp.)           The court will

 consider each argument in turn.

                  i. Standing

             Defendants argue that their individual status,

 respectively, as an owner (Dupree), executives (Dupree and

 Watts), and claimant-creditor (Foley), they have standing to

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 contest the seizure of the funds in the accounts of GDC and its

 subsidiaries.     (See ECF No. 90, Defs. Seizure Mem., at 20; ECF

 No. 94, Ryan Decl., at ¶ 2.)        In response, the government argues

 that defendants “lack standing to seek the return of restrained

 funds because Amalgamated possesses a superior interest in the

 funds as a result of the loan agreement.”          (ECF No. 100, Govt.

 Seizure Opp., at 7.)        In reply, defendants argue that “[w]here,

 as here, the government has not started a civil suit, the only

 issue is whether a claimant has Article III standing, which

 these defendants clearly do.”        (ECF No. 105, Reply Memorandum of

 Law in Support of Motion by Defendants Watts and Dupree Opposing

 Government’s Unconstitutional and Unlawful Seizure and Restraint

 of Funds (“Defs. Reply. Seizure Mem.”) at 3.)          Defendants

 further argue that “a claimant need only show injury to claim

 constitutional standing.”        (Id.)     The court finds that, for

 purposes of their motions to vacate the seizure warrants,

 defendants have standing to contest the seizure of GDC’s funds.

             In order to contest the seizure of funds in the

 accounts of GDC and its subsidiaries, “a litigant must allege a

 ‘distinct and palpable injury to himself’ that is the direct

 result of the ‘putatively illegal conduct of the [adverse

 party]’ and likely to be redressed by the requested relief.’”

 United States v. Cambio Exacto S.A., 166 F.3d 522, 527 (2d Cir.

 1999) (internal citations omitted).          Defendants thus bear the

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 burden of demonstrating standing to vacate the seizures.            United

 States v. Any and All Funds on Deposit in Account No. 12671905,

 No. 09 CV 3481, 2010 U.S. Dist. LEXIS 81151, at *14 (S.D.N.Y.

 Aug. 10, 2010) (citations omitted).        In determining standing to

 contest the seizure and forfeiture of funds, courts look to

 ownership and possession of the seized property as reliable

 indicators of standing to claim injury.         Cambio, 166 F.3d at

 527.   However, “while ownership and possession generally may

 provide evidence of standing, it is the injury to the party

 seeking standing that remains the ultimate focus.”           Id.

             Here, defendants allege that they were injured when

 GDC was allegedly “shuttered,” that they were deprived of

 salaries and advances of legal fees to which they were entitled,

 and that they were denied their Fifth and Sixth Amendment rights

 to due process and counsel.       The court will discuss the merits

 of defendants’ claims, infra, but finds that they have satisfied

 their initial burden of establishing Article III standing.            See,

 e.g., United States v. Hooper, 229 F.3d 818, 820 n.4 (9th Cir.

 2000) (where wives of defendants whose property had been

 forfeited in connection with drug offenses challenged the

 forfeiture, there was “no dispute that [the wives] had Article

 III standing to file their petitions and challenge the

 forfeitures”).



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                 ii. Statutory Authority to Seize

             Defendants argue that the government was not entitled

 to a pretrial seizure of funds or substitute assets pursuant to

 18 U.S.C. § 982 and 28 U.S.C. § 2461.        (ECF No. 90, Defs.

 Seizure Mem., at 27-28.)      In response, the government argues

 that defendants have mischaracterized the law, and that 18

 U.S.C. §§ 981, 982, 21 U.S.C. § 853(f) and 28 U.S.C. § 2461, as

 amended, allow for pretrial seizure of funds.         (ECF No. 100,

 Govt. Seizure Opp., at 14-15, 19-20.)        In reply, defendants

 argue that the Magistrate Judges did not make a determination

 that an order pursuant to 21 U.S.C. § 853(e) may not be

 sufficient to assure the availability of forfeiture assets, as

 required by 21 U.S.C. § 853(f).       (ECF No. 105, Defs. Reply.

 Seizure Mem., at 8.)

             Defendants have raised two distinct issues: (1)

 whether the government, in a criminal case, is authorized to

 seize property prior to conviction; and if it is, (2) whether

 the government is required to show that a restraining order,

 injunction or temporary restraining order without notice or

 opportunity for a hearing, provided by 21 U.S.C. § 853(e), would

 not be sufficient to assure the availability of the funds for

 forfeiture.

             The government executed seizure warrants pursuant to

 its authority under the civil forfeiture statute, 18 U.S.C.

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 § 981(a)(1)(C), and the criminal forfeiture statutes, 18 U.S.C.

 § 982(a)(2) and 28 U.S.C. § 2461(c).         Both 18 U.S.C. § 982(b)(1)

 and 28 U.S.C. § 2461(c) apply the procedures of 21 U.S.C. § 853

 for seizure and forfeiture, as discussed infra.

             Title 18 U.S.C. § 981 provides that the United States

 may obtain civil forfeiture of “[a]ny property . . . which

 constitutes or is derived from proceeds traceable to a violation

 of section . . . 1344 [bank fraud].”         18 U.S.C. § 981(a)(1)(C).

 In addition, “[a]ny property, real or personal, which represents

 or is traceable to the gross receipts obtained, directly or

 indirectly, from a violation of . . . 18 U.S.C. § 1341 (relating

 to mail fraud) and § 1343 (relating to wire fraud),” is also

 subject to forfeiture.      18 U.S.C. § 981(a)(1)(D), (E).

             The government did not commence an administrative or

 judicial civil forfeiture action.         Had the government commenced

 a civil forfeiture action pursuant to 18 U.S.C. § 981, the

 Federal Rules of Civil Procedure and the Supplemental Rules for

 Certain Admiralty and Maritime Claims would apply.            See Cambio,

 166 F.3d at 526.     The government, however, did not file a

 verified complaint in rem and obtain an arrest warrant in rem,

 pursuant to the Supplemental Rules for Certain Admiralty and

 Maritime Claims.     See 18 U.S.C. § 981(b)(2)(A).8        Because the


             8
               Upon receiving notice pursuant to Supplemental Rule C(4) of the
 execution of process, a claimant must file a statement of interest in, or
 right against, the seized property in accordance with Supplemental Rule C(6).

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 government did not commence a civil in rem forfeiture action,

 defendants were not required to timely file a claim under Rule

 C(6).

             In addition to utilizing the procedures for civil

 forfeiture under 18 U.S.C. § 981, the government also invoked

 the criminal forfeiture provisions of 18 U.S.C. § 982(a)(2),

 which provides, in relevant part, that the court, in imposing a

 sentence on a person convicted of a violation of, or a

 conspiracy to violate 18 U.S.C. § 1341 (mail fraud), § 1343

 (wire fraud), or § 1344 (bank fraud), shall order that the

 person forfeit any property constituting, or derived from,

 proceeds the person obtained directly or indirectly as the

 result of such violation.       Further, the gross receipts of mail,

 wire and bank fraud offenses “shall include any property . . .

 which is obtained, directly or indirectly, as the result of such

 offense.”    18 U.S.C. § 982(a)(4).

             In addition to 18 U.S.C. §§ 981 and 982, the seizure

 warrants signed by Judges Go and Reyes were issued pursuant to

 28 U.S.C. § 2461, upon their findings that probable cause

 existed to believe that the funds held in the specified bank

 Rule C(6) requires that a claimant in a civil forfeiture proceeding file a
 sworn notice of claim within fourteen days after the execution of process of
 the commencement of a civil forfeiture action, unless the court grants an
 extension. If no claim is properly filed, a putative claimant lacks standing
 to contest civil forfeiture of the property. United States v. Contents of
 Account Number 901121707, 36 F. Supp. 2d 614, 616 (S.D.N.Y. 1999). A
 claimant in a civil forfeiture action may file a late claim upon a showing of
 “excusable neglect” under Federal Rule of Civil Procedure 6(b)(2). Id. at
 616-17.

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 accounts were subject to seizure and forfeiture.          Section

 2461(c) of Title 28 provides that where a person is charged in a

 criminal case with a violation for which civil or criminal

 forfeiture is authorized, the procedures set forth in 21 U.S.C.

 § 853 “shall apply to all stages of a criminal forfeiture

 proceeding. . . .”

             The court finds that the criminal forfeiture

 provisions of 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c), as

 amended, both of which explicitly apply the provisions of 21

 U.S.C. § 853 to all stages of criminal forfeiture proceedings,

 authorize pretrial seizure of funds.

             The history of 28 U.S.C. § 2461, one of the statutes

 relied upon by the government for the seizure, is instructive on

 the first issue defendants raise, whether the government, in a

 criminal case, is authorized to seize property prior to

 conviction.    Prior to 2006, § 2461(c) stated:

             If a forfeiture of property is authorized in
             connection with a violation of an Act of
             Congress, and any person is charged in an
             indictment or information with such
             violation but no specific statutory
             provision is made for criminal forfeiture
             upon conviction, the Government may include
             the forfeiture in the indictment or
             information in accordance with the Federal
             Rules of Criminal Procedure, and upon
             conviction, the court shall order the
             forfeiture of the property in accordance
             with the procedures set forth in section 413
             of the Controlled Substances Act (21 U.S.C.


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             § 853), other than subsection (d) of that
             section.

             Interpreting this pre-amendment version of § 2461, the

 Second Circuit, in 2005, held that § 2461 did not permit the

 government to seize assets prior to conviction.           United States

 v. Razmilovic, 419 F.3d 134, 137 (2d Cir. 2005).          The Razmilovic

 court held that the statute’s use of the term “forfeiture,”

 which “in a criminal case . . . constitutes punishment for a

 crime and necessarily occurs post-conviction,” necessitates the

 conclusion that § 2461 did not permit pretrial seizures.            Id.

 The Razmilovic court read the language permitting “forfeiture .

 . . upon conviction . . . in accordance with the procedures of

 Section 853, except for subsection (d),” as recognition of the

 fact that forfeiture is an act that occurs after conviction.

 Id. at 137-38 (emphasis added).

             In 2006, Congress amended § 2461, which now provides

 in subsection (c) as follows:

             If a person is charged in a criminal case
             with a violation of an Act of Congress for
             which the civil or criminal forfeiture of
             property is authorized, the Government may
             include notice of the forfeiture in the
             indictment or information pursuant to the
             Federal Rules of Criminal Procedure. If the
             defendant is convicted of the offense giving
             rise to the forfeiture, the court shall
             order the forfeiture of the property as part
             of the sentence in the criminal case
             pursuant to the Federal Rules of Criminal
             Procedure and section 3554 of title 18,
             United States Code. The procedures in

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              section 413 of the Controlled Substances Act
              (21 U.S.C. § 853) apply to all stages of a
              criminal forfeiture proceeding, except that
              subsection (d) of such section applies only
              in cases in which the defendant is convicted
              of a violation of such Act.
 28 U.S.C. § 2461(c) (emphasis added).

              The Second Circuit has not yet decided whether the

 explicit language in amended § 2461(c), making applicable the

 procedures in 21 U.S.C. § 853 to “all stages of a criminal

 forfeiture proceeding,” permits pretrial seizure.          The

 government relies on a decision from a Missouri district court

 which, applying the procedures of 21 U.S.C § 853, notes in

 dicta, that “[i]t appears that Congress has clarified its intent

 that section 2461(c) authorizes the pretrial restraint of

 assets.”     United States v. Schlotzhauer, No. 06-00091-01/03-CR-

 W-GAF, 2008 WL 320717, at *9 (W.D. Mo. Feb. 4, 2008).

              The court has undertaken an independent review of the

 relevant statutes.     Congress, in § 2461(c), specifically singled

 out subsection (d) of § 853 as the only subsection of § 853 that

 is restricted to post-conviction application, and provided that

 all other subsections of § 853, including subsection (f), “apply

 to all stages of a criminal forfeiture proceeding.”           28 U.S.C.

 § 2461(c).

              Similarly, 18 U.S.C. § 982(b)(1) provides that

 criminal forfeitures of property under § 982, including any

 seizure and disposition of property, and any related judicial or
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 administrative proceeding, shall be governed by 21 U.S.C. § 853.

 Like 28 U.S.C. § 2461(c), any judicial or administrative

 proceeding, including the seizure and disposition of property

 subject to criminal forfeiture under 18 U.S.C. § 982, is

 governed by 21 U.S.C. § 853 (except subsection (d)).

             Section § 982(b)(1) provides that:

             The forfeiture of property under this
             section, including any seizure and
             disposition of the property and any related
             judicial or administrative proceeding, shall
             be governed by the provisions of section 413
             (other than subsection (d) of that section)
             of the Comprehensive Drug Abuse Prevention
             and Control Act of 1970 (21 U.S.C. 853).

             The Second Circuit has recognized that 18 U.S.C.

 § 982(b)(1) provides that “forfeiture of property, including

 seizure in a judicial proceeding, shall be governed by 21 U.S.C.

 § 853.”    De Almeida v. United States, 459 F.3d 377, 379 (2d Cir.

 2006).    In De Almeida, the government seized 39 bank accounts

 utilizing seizure warrants issued pursuant to 18 U.S.C. § 982,

 prior to the return of an indictment that included a forfeiture

 count.    Id.   The Second Circuit upheld the district court’s

 decision to decline to exercise jurisdiction over the third-

 party claimant’s motion to return the funds pursuant to Fed. R.

 Civ. P. 41(g), even though the government seized the funds

 without notice or hearing and held the funds for over two years

 before it brought an action for forfeiture.         Id. at 382-83.


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             Pursuant to 21 U.S.C. § 853(f), if the court

 determines that “there is probable cause to believe that the

 property to be seized would, in the event of conviction, be

 subject to forfeiture” and that a restraining order, injunction

 or temporary restraining order under subsection (e) “may not be

 sufficient to assure the availability of the property for

 forfeiture, the court shall issue a warrant authorizing the

 seizure of such property.”       21 U.S.C. § 853(f) (emphasis added).

 The prospective language, “in the event of conviction,” in

 § 853(f) leaves no doubt that a seizure warrant “shall” be

 issued prior to conviction upon a determination of probable

 cause that the property to be seized would, in the event of

 conviction, be subject to forfeiture, and that a restraining

 order, injunction or temporary restraining order under

 subsection (e) “may not be sufficient to assure the availability

 of the property for forfeiture.”          Id.   The Second Circuit, in De

 Almeida, did not question the government’s authority pursuant to

 18 U.S.C. § 982(b) and 21 U.S.C. § 853 to seize funds without

 notice or hearing, prior to the return of an indictment with a

 forfeiture count.     459 F.3d 377.       Accordingly, the court finds

 that 28 U.S.C. § 2461(c), as amended, and 18 U.S.C. 982(b)(1),

 which both apply 21 U.S.C. § 853(f), authorize pretrial seizure

 of funds by the government.



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             The court next turns to the second issue raised by

 defendants, whether the government sustained its burden to show

 that the procedures set forth in 21 U.S.C. § 853(e) “may not be

 sufficient to assure the availability of the property for

 forfeiture.”    21 U.S.C. § 853(f) (The court shall issue a

 seizure warrant if it determines that “an order under subsection

 (e) of this section may not be sufficient to assure the

 availability of the property for forfeiture.”).            The parties do

 not dispute that § 853(f) requires this determination.

 Defendants assert, however, that the government did not ask

 either Magistrate Judge Go or Magistrate Judge Reyes to make the

 determination, under a probable cause standard, that measures

 less drastic than seizure would have been insufficient to assure

 the property’s availability for forfeiture, nor did the

 government provide the Magistrate Judges with the basis for

 making any such determination.        (ECF No. 105, Defs. Reply.

 Seizure Mem., at 8.)        The government contends that the “fungible

 and easily transferable nature of funds, especially in

 electronic form, makes a seizure warrant appropriate.”             (ECF No.

 100, Govt. Seizure Opp., at 20.)

             Here, funds were seized pursuant to both civil and

 criminal forfeiture statutes.        (ECF No. 100, Govt. Seizure Opp.,

 at 19.)    18 U.S.C. § 981(b), the civil forfeiture statute

 authorizing the seizure of property subject to forfeiture,

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 requires a showing of probable cause, but does not require a

 showing that less restrictive means may not be sufficient to

 secure the funds.9     18 U.S.C. § 981(b).       As the parties

 acknowledge, the criminal forfeiture statutes utilized by the

 government, 18 U.S.C. § 982, 21 U.S.C. § 853(f), and 28 U.S.C.

 § 2461(c), require the court to determine that a restraining

 order, an injunction, or a temporary restraining order, as




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               Moreover, 18 U.S.C. § 983(a)(1)(A)(iii) provides that if, within
 60 days of a seizure, the government does not “file a civil judicial
 forfeiture action, but does obtain a criminal indictment containing an
 allegation that the property is subject to forfeiture,” as the government did
 here, the government shall either “send notice within the 60 days and
 continue the nonjudicial civil forfeiture proceedings under this section; or
 terminate the nonjudicial civil forfeiture proceeding, and take the steps
 necessary to preserve its right to maintain custody of the property as
 provided in the applicable criminal forfeiture statute.” 18 U.S.C. §
 983(a)(1)(A)(iii); see also United States v. Kramer, No. 06-cr-200, 2006 U.S.
 Dist. LEXIS 89034, at *7-8 (E.D.N.Y 2006) (“When the Government seizes
 property under the civil statute, 18 U.S.C. § 981, but then chooses to
 proceed criminally, it must meet two statutory requirements within 90 days of
 a claim being filed to avoid having to return the property: ‘(i) obtain a
 criminal indictment containing an allegation that the property is subject to
 forfeiture; and (ii) take the steps necessary to preserve its right to
 maintain custody of the property as provided in the applicable criminal
 forfeiture statute.’” (citing 18 U.S.C. § 983(a)(3)(B))). Here, rather than
 commencing a civil forfeiture action or sending notice and continuing the
 non-judicial civil forfeiture proceeding, the government proceeded under the
 applicable criminal forfeiture statutes. In doing so, pursuant to § 983, not
 only did the government obtain a criminal indictment containing forfeiture
 allegations, but it also continued to “maintain custody of the property as
 provided in the applicable criminal forfeiture statute.” 18 U.S.C. §
 983(a)(3)(B). The Kramer court held that in order to “maintain custody,” the
 government must “meet any separate requirements for seizure and retention of
 property that may be imposed under the relevant criminal seizure statute.”
 Id. at *9-10. Specifically, the Kramer court analyzed the requirements of 21
 U.S.C. § 853(f) and found that to maintain custody, the government would have
 to make a showing “of the absence of a less restrictive alternative.” Id. at
 *10. Here, the government satisfied the requirements to convert the civil
 forfeiture proceeding into a criminal forfeiture proceeding pursuant to 18
 U.S.C. § 983(a)(1)(A)(iii); it obtained a criminal indictment which included
 forfeiture allegations, and as set forth infra, the Magistrate Judges
 properly found that, pursuant to § 853(f), a less restrictive alternative
 would not be sufficient.

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 provided by 21 U.S.C. § 853, may not be sufficient to assure the

 property for forfeiture.

             The determinations by Magistrate Judges Reyes and Go

 that the affidavits established probable cause to believe that

 the funds were subject to seizure and that a sufficient showing

 had been made to issue each of the seizure warrants

 presumptively included their determination that an order under

 § 853(e) may not be sufficient.       See, e.g., United States v.

 Singh, 390 F.3d 168, 181 (2d Cir. 2004) (“In reviewing a

 magistrate’s probable cause determination, we accord substantial

 deference to the magistrate’s finding . . . .”); cf. United

 States v. Tortorello, 480 F.2d 764, 783 (2d Cir. 1973) (in the

 wiretap context, holding that “[a] judge presumably will

 scrutinize any application and will scrupulously impose the

 restrictions required by statute”).        There is no requirement

 under § 853(f) in particular, or in any seizure warrant in

 general, and the court has located no case to the contrary, that

 the Judicial Officer issuing the seizure warrants is required

 explicitly to state that a restraint under § 853(e) may not have

 sufficiently assured the availability of funds.           Cf. United

 States v. Martin, 460 F. Supp. 2d 669, 677 (D. Md. 2006)

 (finding that the magistrate judge properly determined that a

 restraining order would not have been sufficient based on the

 government’s affidavits in support of the warrant).

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             Here, the supporting affidavits presented to

 Magistrate Judges Go and Reyes described an ongoing, complex

 scheme by defendants to falsify documents and submit those

 documents to induce Amalgamated to continue making available

 funds from the revolving credit line.        The affidavits further

 state that two individuals who were employed by GDC and who had

 knowledge of the scheme informed the government that the fraud

 proceeds from Amalgamated were deposited into a subject account

 and disbursed amongst all of the subject accounts to be seized,

 and then used to run the business.        (Shea Aff. at ¶ 7; 7/23/10

 and 7/27/10 Shea Seizure Affs. at ¶ 32.)         According to the

 affidavits, the balance of the subject accounts was expected to

 be far below the total amount of fraud proceeds, thus

 demonstrating that the funds were being moved and dissipated.

 (Shea Aff. at ¶ 7; 7/27/10 Shea Seizure Aff. at ¶ 30.)

 Moreover, the affidavits detailed defendants’ allegedly

 fraudulent scheme which employed elaborate methods to create

 false accounting records to obtain funds under the loan

 agreement with Amalgamated, and hide from Amalgamated a covert

 purchase of a company through the creation of multiple

 corporations and bank accounts to funnel money out of GDC and

 disguise the source of the funds used to purchase the company.

 (Shea Aff. at ¶ 7; Shea Complaint Aff. at ¶ 10; 7/23/10 and

 7/27/10 Shea Seizure Affs. at ¶¶ 11; 14-15; 22-27.)

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             As determined by Magistrate Judges Go and Reyes,

 seizure under the criminal statutes was thus appropriate because

 the seized funds could be, and had been, easily transferred in

 and out of the accounts.        See, e.g., United States v. Daccarett,

 6 F.3d 37, 49 (2d Cir. 1993) (upholding warrantless seizures and

 finding exigent circumstances present where “property at issue

 was fungible and capable of rapid motion due to modern

 technology”).     Accordingly, given the deference to be accorded

 to the determination of magistrate judges and the presumption

 that Magistrate Judges Go and Reyes carefully considered the

 facts presented and the applicable law prior to issuing the

 seizure warrants, defendants’ request for a hearing to determine

 whether the least restrictive means of securing the funds was

 used is denied.

               iii. Probable Cause for Seizure Warrants

             Defendants argue that the government “failed to

 establish probable cause for a proper nexus between the criminal

 conduct and the assets seized for forfeiture.”             (ECF No. 90,

 Defs. Seizure Mem., at 21-27.)        Specifically, defendants argue

 that the government “made no showing of probable cause to

 believe GDC obtained $21 million in loans by material

 misrepresentations.”        (Id. at 21-22).   In support of their

 arguments, defendants contend that the three affidavits

 submitted in support of the seizure warrants failed to establish

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 probable cause to believe that the loan obtained in 2008 from

 Amalgamated was based on material misrepresentations, and that

 the government “needed to make an evidentiary showing of at

 least one material misrepresentation that was the basis for the

 $21 million loan.”     (Id. at 22.)       Specifically, defendants

 contend that the government failed to “point to a single

 falsehood or misrepresentation in support of the loan

 application.”     (Id.)

             Second, defendants contend that the government made no

 showing that there were specific loan proceeds from the charged

 fraudulent scheme in the seized accounts, and that the

 government intentionally omitted the fact that the accounts

 contained legitimate customer payments from its seizure

 affidavits, and failed to address “nexus and tracing

 principles.”    (Id. at 22-27.)     Defendants, relying on affidavits

 by Roscoe Howard, Esq., counsel for Dupree, and Marion Bachrach,

 Esq., counsel for Watts, attaching three bank statements for

 Unalite accounts at Chase Bank, instead of on affidavits from

 persons with knowledge, claim, without explanation, that “the

 Unalite accounts, which now hold approximately $1.2 million, did

 not receive or hold loan proceeds at any time.”           (ECF No. 90,

 Defs. Seizure Mem., at 23 (citing Howard Aff.; Bachrach Aff.,

 Ex. H, bank statements).)       Defendants further assert that the

 seized Chase accounts “held funds paid by customers for goods

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 and services” and that the government seized all funds in the

 accounts without showing that each of the seized accounts held

 only loan proceeds or that the account balances were “equal to

 or less than fraud proceeds previously deposited into the

 accounts to be seized. . . .”       (ECF No. 90, Defs. Seizure Mem.,

 at 23.)

             In response, the government argues that it met its

 burden to demonstrate probable cause for the issuance of seizure

 warrants.    (ECF No. 100, Govt. Seizure Opp., at 10-14.)

 Specifically, the government argues that: (1) Magistrate Judges

 Go’s and Reyes’s findings of probable cause should be accorded

 great deference; (2) the affidavits listed specific instances of

 misrepresentations made by defendants in connection with the

 offenses charged in the complaint; and (3) the affidavits stated

 that all of the accounts received a portion of the fraud

 proceeds, as needed to run the businesses, and that the balances

 of the accounts seized would be less than the total fraud

 proceeds.    (Id.)

             It is undisputed that a magistrate judge’s finding of

 probable cause should be accorded great deference in challenges

 to pretrial warrants to seize assets.        Illinois v. Gates, 462

 U.S. 213, 236 (1983) (“A Magistrate’s determination of probable

 cause should be paid great deference by reviewing courts.”

 (citations omitted)); United States v. Moore, 968 F.2d 216, 222

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 (2d Cir. 1992) (a magistrate’s determination is entitled to

 “great deference” (quoting United States v. Leon, 468 U.S. 897,

 914 (1984))) (internal quotation marks omitted); United States

 v. Jakobetz, 955 F.2d 786, 803 (2d Cir. 1992) (“Determinations

 by magistrates and judges who issue warrants are accorded great

 deference and any doubts should be resolved in favor of

 upholding the warrants.” (internal quotation marks and citations

 omitted)).

              Based on its consideration of the parties’

 submissions, including the affidavits of Special Agent Shea, the

 court agrees with Magistrate Judge Go’s and Reyes’s findings of

 probable cause to seize the accounts and disagrees with

 defendants that the “affidavit was devoid of a single specific

 fact to support the conclusory statement[s].”         (ECF No. 90,

 Defs. Seizure Mem., at 22.)       On the contrary, the affidavits set

 forth numerous alleged falsehoods made by the defendants

 relating to the documentation required by the terms of the

 Amalgamated loans and adequately set forth facts, supported by

 citations to and quotations from emails and recorded

 conversations, thereby connecting the charged fraudulent conduct

 by defendants to the funds received from Amalgamated and

 deposited into the accounts.       For example, Frank Patello

 (“Patello”) certified false BBCs that were submitted by GDC to

 Amalgamated.    (Shea Complaint Aff. at ¶ 7.)       Specifically, in

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 November 2009, Patello, in his capacity as controller and CFO of

 GDC, submitted a BBC to Amalgamated which certified that “GDC

 had $25.2 million in accounts receivable” despite the fact that

 he stated, in a consensually recorded conversation on May 19,

 2010, that GDC “had only $9 million in accounts receivable in

 November 2009.”     (Id.)   The government further described

 consensually recorded conversations between CS-1 and the

 defendant-conspirators in which they discuss creating and

 booking fictitious sales and accounts receivable in order to

 preserve and obtain funds under the revolving credit facility

 with Amalgamated Bank.      (Shea Complaint Aff. at ¶ 9.)

 Specifically, on May 14, 2010, CS-1 reported that defendant

 Watts told CS-1 about the need to create additional sales so GDC

 could borrow additional money from the credit line.            (Id.)

 Further, in emails and consensually recorded conversations,

 Watts and Dupree discussed with their co-conspirators techniques

 for creating false accounts receivable, thus making the fraud

 more difficult for Amalgamated to detect.          (Shea Complaint Aff.

 at ¶ 10.)    These statements support the Magistrate Judges’

 findings of probable cause to seize the funds.10

             Furthermore, the court agrees with the Magistrate

 Judges’ determinations that the government sufficiently

             10
               The court need not address defendants’ argument that pretrial
 seizure of substitute assets is not authorized because the basis for the
 instant seizures is that the funds are proceeds of the charged conduct,
 rather than substitute assets of the defendants.

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 established that the seized funds are traceable to the charged

 fraud.    The affidavits in support of the seizure warrants

 attested that after Patello, GDC’s controller and CFO, was

 placed under arrest, he confirmed the statements of CS-1

 regarding the deposit and movement of fraud proceeds among the

 subject accounts.     Both CS-1 and Patello stated that the fraud

 proceeds from Amalgamated were initially deposited into an

 account held by GDC and then disbursed throughout the accounts

 that were to be seized, including the Unalite accounts at Chase,

 as needed to run GDC and its subsidiaries.         (7/23/10 and 7/27/10

 Shea Seizure Affs. at ¶ 32; Shea Aff. at ¶ 7.)            CS-1 also told

 the government “that the balance of the [s]ubject [a]ccounts

 will be far below the total amount of fraud proceed[s].”

 (7/27/10 Shea Seizure Aff. at ¶ 30.)        Defendants present no

 evidence to the contrary.       Rather, defendants merely rely on

 three months of Unalite statements, which list “lockbox

 deposits” and “online wire transfers,” to and from unidentified

 sources.    (Bachrach Aff., Ex. H, bank statements.)          On this

 record, the court finds that the government satisfied its burden

 to establish probable cause to obtain seizure warrants for the

 subject accounts, which, according to CS-1 and Patello, received

 proceeds of the charged frauds in an amount less than the total

 amount of fraud proceeds.



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             For the foregoing reasons, because the court agrees

 with the Magistrate Judges’ determination that the government

 established probable cause and because the defendants did not

 satisfy their burden of demonstrating that the funds in the

 seized accounts were not traceable to or proceeds of the fraud,

 the court rejects defendants’ argument that the Chase accounts

 contained solely legitimate funds paid by customers for goods

 and services provided by the companies.            (ECF No. 90, Defs.

 Seizure Mem., at 23.)         For the same reasons, the court rejects

 defendants’ suggestion that the government needed to show “that

 each of the accounts seized had only loan proceeds.”               (Id.)

 (emphasis in original).         As set forth above, the government met

 the probable cause threshold by showing that that the balance in

 the accounts “was equal to or less than fraud proceeds

 previously deposited.”         (Id.); see also United States v.

 $448,342.85, 969 F.2d 474, 477 (7th Cir. 1992) (“Probable cause

 to believe that the proceeds of the fraud exceed the balance of

 the account at the time of seizure justifies calling on the

 claimant to identify sums derived from lawful activities.”

 (comparing United States v. Banco Cafetero Panama, 797 F.2d

 1154, 1157-62 (2d Cir. 1986) and noting that Banco Cafetero

 “discuss[ed] appropriate tracing presumptions when the balance

 exceeds the proceeds of crime”).11

             11
                  The court rejects defendants’ argument that “it appears to have

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             Once the government establishes probable cause to

 believe that a particular account contains specific proceeds

 traceable to illegal transactions, the burden shifts to the

 claimant to show that no portion of the account is traceable to

 illegal proceeds.     Banco Cafetero, 797 F.2d at 1159-62.          As

 discussed above, the government has sustained its initial burden

 to show that probable cause exists that the defendant property

 is subject to forfeiture.       To the extent defendants now seek to

 release the seized funds, defendants have not made a sufficient

 showing to demonstrate that the property is not subject to

 forfeiture.    Defendants submit no evidence, other than three

 months of Unalite’s Chase bank statements for January to March

 2010, to support their contention that those Chase accounts “did

 not receive or hold loan proceeds at any time.”           (ECF No. 90,

 Defs. Seizure Mem., at 23; Bachrach Aff., Ex. H, bank

 statements.)




 been the government’s choice to seek and execute warrants before it had
 obtained and reviewed the financial and banking records, which were all
 easily available to the government through subpoena . . . . Instead, the
 government relied upon conclusory statements, allegedly made by its
 informant/s, that are false and willfully chose not to review available bank
 records.” (ECF No. 90, Defs. Seizure Mem., at 4.) As set forth in Agent
 Shea’s affidavit in support of the seizure warrants, dated July 27, 2010, it
 was not until after the government executed the Amalgamated seizure warrants
 on July 23, 2010 that it learned that additional accounts containing proceeds
 were held at J.P. Morgan Chase Bank, rather than at Amalgamated Bank.
 (7/27/10 Shea Seizure Aff. at ¶ 3.) Prior to execution of the warrants, the
 government did not know where the funds were held and could not have
 subpoenaed the bank records.

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                 iv. Due Process

                        a. Pre-Seizure Due Process

             Defendants next argue that they were deprived of due

 process rights afforded to them by the Fifth Amendment to the

 United States Constitution because they did not receive notice

 and an opportunity to be heard prior to the seizure of the

 restrained funds, and that the seizure by the government was the

 “direct cause” of the companies’ failure and the loss of funds

 to pay the costs of their legal defense.         (ECF No. 90, Defs.

 Seizure Mem., at 29-33.)      In response, the government argues

 that defendants were afforded all appropriate due process in the

 seizure of the fraud proceeds.       Specifically, the government

 argues that (1) it seized funds but did not seize “the business

 in its entirety”; (2) the civil forfeiture statute, 18 U.S.C.

 § 981(b), does not contain any requirement that the government

 use the least restrictive means of securing the property; and

 (3) even under the criminal forfeiture statute, 21 U.S.C.

 § 853(f), Judge Go and Judge Reyes properly exercised their

 discretion to issue the warrants.         (ECF No. 100, Govt. Seizure

 Opp., at 15-22.)     The court discussed the government’s statutory

 arguments in opposition to defendants’ motion, supra, and found

 that the criminal forfeiture statutes, 18 U.S.C. § 982, 28

 U.S.C. § 2461, and 21 U.S.C. § 853, permit the pretrial seizures

 here.   In addition, for the reasons set forth below, the court

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 finds that defendants’ due process rights were not violated by

 the government’s seizure of the funds of GDC and its

 subsidiaries without a pre-seizure notice and hearing.

             The Due Process Clause of the Fifth Amendment states

 that “no person shall . . . be deprived of life, liberty, or

 property, without due process of law.”        U.S. Const. amend. V.

 The touchstone of due process is that “a person in jeopardy of

 serious loss [be given] notice of the case against him and

 opportunity to meet it.”      Mathews v. Eldridge, 424 U.S. 319, 348

 (1976) (internal quotation marks and citation omitted).            In

 determining whether due process was afforded, a court must

 consider three factors: (1) the private interest affected by the

 official action; (2) the risk of an erroneous deprivation of

 that interest through the procedures used, as well as the

 probable value of additional safeguards; and (3) the

 government’s interest, including the administrative burden that

 additional procedural requirements would impose.          Id. at 335.

 In conducting this analysis, the court tolerates some exceptions

 to the general rule requiring pre-deprivation notice and hearing

 in “‘extraordinary situations where some valid governmental

 interest is at stake that justifies postponing the hearing until

 after the event.’”     United States v. James Daniel Good Real

 Prop., 510 U.S. 43, 53, 62 (1993) (deciding that both the Fourth

 and Fifth Amendments required pre-seizure notice and hearing for

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 seizure of real property in a civil forfeiture action) (quoting

 Fuentes v. Shevin, 407 U.S. 67, 82 (1972)); but see Calero-

 Toledo v. Pearson Yacht Leasing Co., 416 U.S. 663, 679-80 (1974)

 (holding that the government could seize yacht subject to civil

 forfeiture without prior notice and hearing).

             First, in Calero-Toledo, the Supreme Court considered

 whether notice and an opportunity to be heard were required

 before the government could seize a yacht subject to civil

 forfeiture.    The Court considered the three Mathews v. Eldridge

 factors and found that (1) seizure served a significant

 governmental purposes by permitting the government to assert in

 rem jurisdiction over property implicated in a crime, thereby

 fostering the public interest in preventing continued illicit

 use of the property and in enforcing criminal sanctions; (2)

 pre-seizure notice and hearing might frustrate the interests

 served by the statute, because the property seized – a yacht –

 is of the sort that could be removed to another jurisdiction,

 destroyed, or concealed, if advance warning of seizure were

 given; and (3) “seizure [was] not initiated by self-interested

 private parties; rather, Commonwealth officials determine

 whether seizure is appropriate.”          Calero-Toledo, 416 U.S. at

 679.   Accordingly, the Court held that under these

 circumstances, with respect to personal property, “postponement

 of notice and hearing until after seizure did not deny due

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 process.”    Id. at 679-80 (internal quotation marks and citation

 omitted).

             Several years later, the Supreme Court further

 considered the issue in James Daniel Good, after the government

 seized defendant’s house and the 4-acre parcel of property on

 which it was situated on the ground that it had been used to

 commit or facilitate a federal drug offense and was thus subject

 to forfeiture.     510 U.S. at 46.    The Supreme Court rejected the

 government’s argument that it need only comply with the Fourth

 Amendment when seizing forfeitable property.         Id. at 49-52.      The

 Court distinguished its holding in Calero-Toledo, explaining

 that “[c]entral to our analysis in Calero-Toledo was the fact

 that a yacht was the ‘sort of property that could be removed to

 another jurisdiction, destroyed, or concealed, if advance

 warning of confiscation were given,’” and found that where the

 government was seizing real property, “which by its very nature,

 can neither be moved nor concealed,” the Due Process Clause

 required pre-seizure notice.       Id. at 52-53, 62.      The court held

 that “[t]o establish exigent circumstances, the Government must

 show that less restrictive measures – i.e., a lis pendens,

 restraining order, or bond – would not suffice to protect the

 Government’s interests in preventing the sale, destruction, or

 continued unlawful use of the real property.”          Id. at 62.



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             The holding in James Daniel Good establishes a

 distinction between the seizure of real property, which requires

 pre-deprivation notice, and other property, which may constitute

 an “extraordinary circumstance” for which pre-deprivation notice

 is not required.     See, e.g., CEDC Fed. Credit Union v. NCUA, No.

 96-6064, 1996 U.S. App. LEXIS 25239, at *4 (2d Cir. Sept. 26,

 1996) (holding that pre-deprivation notice of seizure under the

 conservatorship statute, 12 U.S.C. § 1786, was not required

 because the “government also has an interest in protecting the

 federal treasury from unnecessary insurance claims by depositors

 resulting from bank failures,” which constitutes an

 “extraordinary situation”).

             Applying the first of the Mathews v. Eldridge factors,

 the court considers defendants’ private interest in the seized

 funds.    Defendants’ interest, if any, in the funds is

 distinguishable from an interest they might have in other types

 of property such as a home or business.         See, e.g., James Daniel

 Good, 501 U.S. at 54 (“The seizure of a home produces a far

 greater deprivation than the loss of furniture, or even

 attachment.    It gives the Government not only the right to

 prohibit sale, but also the right to evict occupants, to modify

 the property, to condition occupancy, to receive rents, and to

 supersede the owner in all rights pertaining to the use,

 possession, and enjoyment of the property.”); see also United

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 States v. All Assets of Statewide Auto Parts, 971 F.2d 896, 902

 (2d Cir. 1992) (“[t]he claimant’s interest in his home [is] an

 interest which . . . merits special constitutional protection”

 (internal quotation marks and citation omitted)).12

             Here, defendants argue that the government’s seizure

 has caused them substantial injuries by causing the “businesses

 to shutter,” and depriving them not only of their salaries and

 livelihoods, but also of advances necessary to fund their legal

 defenses and the ability to pay the premiums for Directors and

 Officers (D&O) insurance coverage.         (ECF No. 105, Defs. Reply

 Seizure Mem., at 4.)        The court, however, is not persuaded by

 defendants’ unsubstantiated argument that, because of the

 government’s seizure, they are “without the ability to obtain
             12
               The court finds the instant case distinguishable from
 Statewide, a case discussed by both parties. Unlike the instant case, in
 Statewide, the government seized an entire business in connection with an in
 rem forfeiture, including hanging “out of business” signs, interrupting phone
 service, and sealing the premises. 971 F.2d at 899. The court considered
 whether the property interest at stake, “the ownership, possession, and
 operation of an ongoing business,” required a pre-deprivation hearing. Id.
 at 902. The Second Circuit found that the district court’s approval of the
 “ex parte, pre-notice seizure” was erroneous because “[w]hile it is true that
 a commercial property interest ‘traditionally has not occupied the same
 privileged place as the home’ in the eyes of the law, it is also true that
 the extent of the invasion of the property interest here was far greater
 than” in cases in which the government had seized homes. Id. at 902-03. The
 instant case is not the “functional equivalent” of Statewide, as defendants
 argue. (See ECF No. 90, Defs. Seizure Mem., at 30.) The government
 correctly notes that it did not seize the entire business of GDC or its
 subsidiaries. It did not post “out of business” signs, turn off the phones,
 or seal the premises, as in Statewide. Rather, the government seized $1
 million from a subsidiary of a company with sales volumes of “more than $286
 million from 2004 to 2009.” (ECF No. 90, Defs. Seizure Mem., at 6.) The
 court agrees that this case is more analogous to the factual circumstances in
 United States v. Victoria-21, 3 F.3d 571, 574-75 (2d Cir. 1993), where when
 the government seized vehicles, bank accounts, and cash, the court
 distinguished Statewide because although the defendants had experienced
 “diminished business and cash flow,” the government had not “shut down a
 business.”

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 advancement of legal fees from the businesses to which [they

 are] legally entitled.”      (ECF No. 90, Defs. Seizure Mem., at

 12.)

              Although the Sixth Amendment guarantees a criminal

 defendant the right to counsel, it does not follow that the

 Sixth Amendment requires a corporation to pay the legal fees for

 its employees.     Cf. Caplin & Drysdale, Chartered v. United

 States, 491 U.S. 617, 626 (1989) (“A defendant has no Sixth

 Amendment right to spend another person’s money for services

 rendered by an attorney, even if those funds are the only way

 that that defendant will be able to retain the attorney of his

 choice.”).

              In order to establish a property interest in funds of

 an employer or corporation that have been seized by the

 government, and to justify the release of those funds for an

 individual defendant’s legal fees and expenses in a criminal

 fraud case, the defendant must satisfy three factors: (1) the

 defendant has a valid expectation that the company would advance

 its funds for the defendant’s legal fees; (2) the funds are not

 the proceeds of or traceable to the defendant’s fraud; and (3)

 the amount of the funds requested are necessary to the

 defendant’s choice of criminal counsel.         SEC v. FTC Capital

 Mkts., Inc., No. 09 Civ. 4755, 2010 U.S. Dist. LEXIS 65417, at

 *10-29 (S.D.N.Y. June 30, 2010) (deciding, in an SEC civil

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 enforcement action, that corporate funds frozen pursuant to a

 temporary restraining order in favor of the SEC should be made

 available to pay criminal defense fees of an employee in

 parallel criminal case).      Defendants cannot satisfy this

 standard.

             Factors that create a valid expectation that an

 employer will reimburse legal fees could include where the

 company’s by-laws state that an employee’s legal fees will be

 paid by the company in the event of an employment-related civil

 or criminal case; or, where a personal employment contract,

 signed agreement or repeated representations to the employee

 provide that legal fees and costs will be paid by the company.

 FTC Capital Mkts., Inc., 2010 U.S. Dist. LEXIS 65417, at *14-18.

             Here, none of the defendants have submitted any

 evidence that GDC’s by-laws, corporate resolutions, their

 employment contracts or any other agreement signed by an

 individual authorized by GDC created a valid expectation that

 the company would advance legal fees.        Moreover, defendants

 state that had the government not seized GDC funds necessary to

 pay insurance premiums, their “attorneys’ fees, expert fees and

 other related costs would have been paid by GDC and its

 Directors and Officers Liability (“D&O”) insurer,” but provide

 no evidence or documentation of such a policy, or its coverage,

 exclusions or coverage decisions.         (See ECF No. 109, Reply to

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 Government’s Opposition to Defendants’ Joint Motion for Relief,

 Including Dismissal of the Indictment, from Prosecutorial

 Misconduct (“Reply. Pros. Misconduct”) at 2.)13

             Nevertheless, defendant Watts argues that he has a

 property interest in the seized funds based on a letter that he

 wrote to defendant Dupree, Chief Executive Officer of GDC, dated

 August 23, 2010, after the seizure and arrest warrants were

 executed and after the Complaint and Indictment were issued

 against them, confirming their “prior discussions” in which

 Dupree allegedly advised Watts that “GDC Acquisitions, LLC and

 its related subsidiaries (“GDC”) had agreed to advance money to

 pay [Watts’] legal fees and expenses in defending [himself] in

 both the above-referenced cases in which [he is] named as a

 defendant, arising out of [his] services as an officer and

 employee of GDC.”     (Bachrach Decl., Ex. G, Letter from Watts to


             13
               The court finds defendants’ argument that the government
 “deprived defendants of their salaries and the ability to receive advancement
 of legal fees under New York Business Corporation Law (“BCL”) §§ 722, 723 et
 seq.” unavailing. (ECF No. 90, Defs. Seizure Mem., at 10.) BCL § 722(a)
 states that a “corporation may indemnify any person made . . . a party to an
 action or proceeding . . . whether civil or criminal . . . if such [person]
 acted, in good faith . . . [and] had no reasonable cause to believe that his
 conduct was unlawful.” BCL § 722(a). BCL § 723 discusses a person’s right
 to indemnification upon “success[ ], on the merits or otherwise, in the
 defense of a civil or criminal action.” BCL § 723(a). To the extent
 defendants invoke these provisions as authority for their position that they
 are entitled to the release of the seized corporate funds for the advancement
 of fees, they have not shown that they “had no reasonable cause to believe
 that [their] conduct was unlawful.” Accordingly, the court finds that the
 BCL provisions do not provide defendants with the relief they seek. Cf.
 Bansbach v. Zinn, 769 N.Y.S.2d 175, 184 (N.Y. 2003) (finding that defendant
 was not entitled to indemnification because he pled guilty to contributing to
 a congressional campaign in violation of the Federal Election Campaign Act
 and an admission showed that he did not act in good faith).

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 Dupree, dated Aug. 23, 2010.)       Defendant Watts has not made any

 further showing that Dupree had the authority to agree

 unilaterally on behalf of GDC to advance fees, or that Dupree

 confirmed or counter-signed Watts’ letter.         Nor did Watts

 provide evidence that he received an advance from GDC or the

 subsidiaries, or that GDC or the subsidiaries observed any

 corporate formalities to agree to pay his legal fees.           The court

 finds that Watts’ letter alone does not establish that defendant

 Watts had a reasonable, valid expectation that GDC and its

 subsidiaries would advance his legal fees absent supporting

 documentation by GDC and/or its subsidiaries, such as an

 employment contract, signed agreement, by-laws, or a corporate

 resolution authorizing the payment of legal fees and expenses.

 Cf. FTC Capital Mkts., 2010 U.S. Dist. LEXIS 65417, at *14-18

 (defendant established a valid expectation that company would

 pay legal fees based on company’s agreement, signed by the Chief

 Executive Officer who had not been charged by the government, to

 advance legal fees, the company’s regular practice of advancing

 legal fees to employees, the company’s repeated representations

 that it would advance fees to the defendant, and the company’s

 initial payment of $25,000 to defendant’s attorney).           Watts has

 not established a valid expectation that GDC and its

 subsidiaries would advance his fees and costs.



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             Defendant Foley makes no argument regarding his

 property interest in the seized funds other than that he has

 been “adversely impacted by the unavailability of the funds for

 his defense.”     (ECF No. 94, Ryan Decl., at ¶ 2.)       Accordingly,

 for the reasons set forth above, the court finds that defendant

 Foley has not established a valid expectation that GDC and its

 subsidiaries would pay his legal fees and costs.

             Finally, defendant Dupree relies on his status as the

 “owner” of GDC to establish his property interest in the seized

 funds of GDC and its subsidiaries.        The court finds Dupree’s

 argument insufficient.      The Second Circuit has recognized that

 “shareholders do not hold legal title to any of the

 corporation’s assets.       Instead, the corporation – the entity

 itself – is vested with title.”       United States v. Wallach, 935

 F.2d 445, 462 (2d Cir. 1991); see also Design Strategies, Inc.

 v. Davis, 355 F. Supp. 2d 715, 717 (S.D.N.Y. 2005) (“It is

 axiomatic that a corporation . . . is separate and

 distinct . . . from its owners and that a shareholder is not the

 corporation either in law or fact” (citations and quotations

 omitted)); United States v. New Silver Palace Restaurant, 810 F.

 Supp. 440, 443 (E.D.N.Y. 1992) (“[s]hareholders are not legal

 owners or lienholders of the corporation’s assets . . . .”).

 Defendant Dupree admits as much, stating that he is “not the

 direct owner[] of the funds seized.”        (ECF No. 90, Defs. Seizure

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 Mem., at 19.)     To hold otherwise, that Dupree could treat the

 corporate funds of GDC as his personal funds, violates basic

 tenets of corporate law.      Accordingly, defendant Dupree has not

 established a valid property interest in the seized funds.

             As to the second prong considered by the court in FTC,

 a defendant has no Sixth Amendment right to funds that are the

 proceeds of the charged fraudulent conduct, even if the funds

 are necessary to retain counsel of choice.         FTC, 2010 U.S. Dist.

 LEXIS 65417, at *18 (citing Caplin & Drysdale, 491 U.S. 617;

 United States v. Monsanto, 491 U.S. 600 (1989) (“Monsanto

 III”)).    Indeed, no Fifth or Sixth Amendment violations occur

 when, after probable cause is adequately established, the

 government obtains a warrant to seize assets prior to trial.

 See Monsanto III, 491 U.S. at 616.

             As to the third prong considered by the court in FTC,

 as discussed infra, the court finds that defendant Watts has

 presented evidence sufficient to support a finding that the

 seized funds are necessary to retain his choice of counsel.

 Because defendants have not established a valid property

 interest in the seized funds and have not shown that the funds

 are not the proceeds of or traceable to defendants’ alleged

 fraud, they have not shown that they were entitled to a pre-

 seizure hearing.     The court thus need not consider the other

 factors under Mathews v. Eldridge and finds that defendants were

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 not denied due process when they were not afforded a hearing

 prior to the seizure of funds.

                        b. Post-Seizure Pre-Trial Due Process

             Notwithstanding whether defendants had a due process

 right to a pre-seizure hearing, defendant Watts argues that he

 is entitled to a post-seizure pre-trial hearing pursuant to

 United States v. Monsanto, 924 F.2d 1186 (2d Cir. 1991)

 (“Monsanto IV”), to determine whether he is entitled to use

 funds seized from GDC and its subsidiaries in order to pay for

 his legal defense.     (ECF No. 90, Defs. Seizure Mem., at 38-40.)

 In response, the government argues that defendant Watts is not

 entitled to a hearing because, under the post-Monsanto Jones-

 Farmer Rule, he has not established “both (1) an actual need for

 the restrained assets for attorneys’ fees or living expenses and

 (2) that there is substantial evidence that the assets are not

 forfeitable.”     (ECF No. 100, Govt. Seizure Opp., at 26.)         As set

 forth below, the court finds that defendant Watts has satisfied

 the first Jones-Farmer factor by making a prima facie showing

 that he needs the restrained funds to pay his counsel of choice

 and his living expenses.      As to the second factor, Mr. Watts has

 not presented sufficient evidence that the funds seized are not

 forfeitable.    Thus, defendant Watts has not satisfied his burden

 to warrant a Monsanto hearing.



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             In Monsanto IV, on remand from the Supreme Court, the

 Second Circuit held that where a defendant’s own assets are

 restrained ex parte and pre-indictment and where the government

 seeks to continue the restraint, “a pre-trial adversary hearing

 is required where the question of attorney’s fees is

 implicated,” under the Fifth and Sixth Amendments.            924 F.2d

 1186, 1191 (2d Cir. 1991) (en banc).         The Second Circuit noted

 that the Supreme Court’s decisions in Monsanto III and Caplin &

 Drysdale “compel a defendant to establish lack of probable cause

 either as to guilt or forfeitability of [seized] assets in order

 to obtain any relief from a pretrial [seizure] of allegedly

 forfeitable assets.”        Id. at 1194.   In determining whether such

 a hearing is required, several district courts in the Second

 Circuit have adopted the “Jones/Farmer Rule,” which stems from

 the holdings in United States v. Jones, 160 F.3d 641 (10th Cir.

 1998), and United States v. Farmer, 274 F.3d 800 (4th Cir.

 2001).    See, e.g., United States v. All Funds on Deposit, No.

 CV-05-3971, 2007 U.S. Dist. LEXIS 77817, at *20-21 (E.D.N.Y.

 Oct. 17, 2007); United States v. Morrison, No. 04-CR-699, 2006

 U.S. Dist. LEXIS 76135, at *18-20 (E.D.N.Y. Oct. 19, 2006).

 Under the Jones-Farmer Rule, a post-restraint pre-trial hearing

 on a defendant’s motion for release of a defendant’s assets for

 living and legal expenses is only required when the defendant

 (1) demonstrates to the court’s satisfaction that he has no

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 assets, other than those restrained, with which to retain

 private counsel and provide for himself and his family; and (2)

 makes a prima facie showing that the assets are not forfeitable.

 See All Funds on Deposit, 2007 U.S. Dist. LEXIS, at *19-20.

 “Only after a defendant satisfies these initial burdens is the

 court required to conduct an adversarial hearing at which the

 government must establish probable cause to believe that the

 assets are forfeitable.”      Id. at *20.

             The court granted defendant Watts’ request to

 supplement his motion for a Monsanto hearing with a sealed

 affidavit describing his financial circumstances so that the

 court could determine whether he had sufficient unrestrained

 funds to pay his legal fees.       (See Order dated Feb. 9, 2011.)

 Defendant Watts submitted the affidavit on February 15, 2011, in

 which he specified his assets, liabilities, and total net worth.

 (ECF No. 113, Affidavit of Rodney Watts.)         The government

 responded under seal to defendant Watts’ submission on February

 25, 2011 (ECF No. 121, Letter dated Feb. 25, 2011), and

 defendant Watts submitted a sealed reply in further support of

 his request for a Monsanto hearing on March 2, 2011 (ECF No.

 123, Letter dated Mar. 2, 2011).          The court has carefully

 reviewed these submissions and based on defendant Watts’ assets

 and outstanding and expected legal fees, with which the parties

 are familiar, but the court will not discuss here because the

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 submissions were filed under seal, the court is satisfied that

 defendant Watts does not have sufficient unrestrained funds to

 pay his legal counsel.      See, e.g., United States v. Hatfield,

 06-CR-0550, 2010 U.S. Dist. LEXIS 39618, at *2-4 (E.D.N.Y. April

 21, 2010) (finding that defendant who had $113,604 in total

 assets and owed over $1 million to his legal counsel needed the

 restrained funds to retain her counsel of choice).

             The court finds, however, that defendant Watts has not

 sustained his burden to make a prima facie showing regarding

 “the lack of probable cause . . . as to . . . forfeitability of

 [seized] assets,” Monsanto IV, 924 F.2d at 1194, and therefore a

 Monsanto hearing is not warranted.         Had Watts established his

 entitlement to a hearing, the government would be required to

 “establish probable cause that the money it has restrained . . .

 is forfeitable.”     Hatfield, 2010 U.S. Dist. LEXIS 39618, at *13-

 14.   In Hatfield, the court directed the government to do so by

 “live testimony or declaration.”          Id. at *14.   In contrast to

 Hatfield and Monsanto, where the court had previously issued a

 restraining order over the funds on a finding of “reasonable

 cause,” see Hatfield, 2010 U.S. Dist. LEXIS 39618, at *13 n.5

 and Monsanto IV, 924 F.2d at 1189, in the instant case, the

 government, in its affidavit and complaint in support of arrest

 warrants and affidavits in support of the search and seizure

 warrants, has established probable cause that the funds are

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 forfeitable, a standard higher than “reasonable cause” and the

 same standard that the government would be required to establish

 at a Monsanto hearing.      See supra, at 32-40; see also United

 States v. George, 241 F. Supp. 2d 875, 879-80 (E.D. Tenn. 2003)

 (finding that although defendant “desperately need[ed] to

 utilize [her] restrained assets to fund her legal defense,”

 because she did not offer any evidence that “the bank accounts

 at issue are improperly restrained assets, i.e. that they are

 ‘untainted,’” defendant’s request for a Monsanto hearing was

 denied); cf. United States v. Egan, No. 10-CR-191, 2010 U.S.

 Dist. LEXIS 76448, at *15-16 (S.D.N.Y. 2010) (holding that

 defendant was not entitled to a Monsanto hearing because he had

 not “submitted any evidence that suggests the restrained assets

 are necessary to retain his counsel of choice”).

             Defendants rely on two cases to support their argument

 that their Fifth and Sixth Amendment rights will be violated if

 they are denied a post-seizure pre-trial hearing to contest the

 seizure of funds: United States v. Stein, 435 F. Supp. 2d 330

 (S.D.N.Y. 2006) (“Stein I”) and United States v. Stein, 440 F.

 Supp. 2d 315 (S.D.N.Y. 2006) (“Stein II”).         The court agrees

 with the government’s analysis distinguishing those cases from

 the instant case.     In Stein I, the accounting firm KPMG denied

 their employee-defendants payment for legal fees that it

 otherwise would have paid pursuant to a long standing policy and

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 agreement to advance fees, because the government had threatened

 KPMG with the “proverbial gun” of indicting KPMG as a corporate

 defendant.    Stein I, 435 F. Supp. 2d at 336.       Further, a policy

 of the Department of Justice, known as the “Thompson

 Memorandum,” provided that the government was bound to consider

 the corporation’s advancement of legal fees to individual

 employee-defendants as a factor weighing in favor of indicting a

 potential corporate defendant like KPMG.         Id. at 336-37.     Here,

 however, the government did not exercise, much less have,

 similar leverage over GDC an entity which, on the record before

 the court, did not have a policy of paying legal fees and was

 not facing a threat of indictment.        (See ECF No. 97, Memorandum

 of Law in Opposition to Defendants’ Motion for Relief Alleging

 Prosecutorial Misconduct and Seeking Dismissal of the Indictment

 (“Govt. Pros. Misconduct Mem.”) at 14-17.)         Nor is there any

 evidence that GDC had a corporate policy or employment contract

 with any of the defendants or with its employees in general to

 pay legal fees.     Further, unlike in Stein II, where the

 government had coerced KPMG into forcing some of its employees

 to waive their Fifth Amendment rights to remain silent, 440 F.

 Supp. 2d at 331-38, here, defendants have not presented evidence

 that the government exercised any leverage to force Amalgamated

 to withhold funds from the defendants after the government

 returned unexecuted the seizure warrants for the Amalgamated

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 accounts.    Accordingly, the court agrees with the government

 that defendants have not established any misconduct, much less

 misconduct similar to what transpired in the Stein cases.

             Accordingly, notwithstanding that defendant Watts has

 shown that he needs the seized funds to pay for his counsel of

 choice, because he has not made a prima face showing that the

 seized funds are not forfeitable in the event of his conviction,

 the court need not hold a Monsanto hearing.

                  v. Franks Hearing

             Defendants next argue that they are entitled to a

 hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978), to

 determine whether “a government affiant deliberately or

 recklessly disregarded the truth in a warrant application and

 [whether] the misstatement/s or omission/s were material to a

 determination of probable case.”           (ECF No. 90, Defs. Seizure

 Mem., at 35.)     Defendants enumerate what they assert are three

 false statements and five omissions material to the probable

 cause determination.        (Id. at 35-37.)     In response, the

 government argues that defendants are not entitled to a Franks

 hearing because they have not made a “substantial preliminary

 showing that a false statement knowingly and intentionally, or

 with reckless disregard for the truth, was included by the

 affiant in the warrant affidavit, and that the allegedly false

 statement [was] necessary to a finding of probable cause.”             (ECF

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 No. 10, Govt. Seizure Opp., at 22.)         Further, the government

 asserts that defendants’ conclusory assertions are not supported

 by an offer of proof such as affidavits from a witness with

 personal knowledge or otherwise reliable witness statements.

 (ECF No. 100, Govt. Seizure Opp., at 22-24 (citing United States

 v. Scala, 388 F. Supp. 2d 396, 405 (S.D.N.Y. 2005) (quoting

 Franks, 483 U.S. at 171-72).       As set forth below, the court

 finds that defendants are not entitled to a Franks hearing.

             In Franks v. Delaware, the Supreme Court held that the

 Fourth Amendment entitles a defendant to a hearing if he or she

 makes (1) a “‘substantial preliminary showing’ that a deliberate

 falsehood or statement made with reckless disregard for the

 truth was included in the warrant affidavit and [(2)] the

 statement was necessary to the judge’s finding of probable

 cause.”    United States v. Falso, 544 F.3d 110, 125 (2d Cir.

 2008) (citing Franks, 438 U.S. at 155-56, 170-71).

             “The Franks standard is a high one.”          Rivera v. United

 States, 928 F.2d 592, 604 (2d Cir. 1991).         “To mandate an

 evidentiary hearing, the challenger’s attack [on the affidavit]

 must be more than conclusory and must be supported by more than

 a mere desire to cross-examine.”          Franks, 438 U.S. at 171.     “A

 judge’s probable-cause determination is not overly strict.”

 United States v. Martin, 426 F.3d 68, 74 (2d Cir. 2005).             The

 judge must “simply . . . make a practical, common-sense decision

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 whether, given all the circumstances set forth in the affidavit

 before him, including the veracity and basis of knowledge of

 persons supplying hearsay information, there is a fair

 probability” that the defendant committed a crime.           Id.

 (quotation marks omitted).

             Defendants’ first argument in support of their request

 for a Franks hearing is that the affidavit falsely states that

 GDC had “obtained approximately $21 million in loans,” when the

 government well knew that GDC was not the borrower on the loan,

 but rather was the guarantor.       (ECF No. 90, Defs. Seizure Mem.,

 at 36.)    However, as the government points out, Agent Shea’s

 Complaint Affidavit, incorporated by reference into his

 Affidavit in Support of Application for Search and Seizure

 Warrants (Shea Aff. at ¶ 5), and Shea’s subsequent seizure

 affidavits, make clear that GDC’s subsidiaries were the

 borrowers, and that GDC was the guarantor:

             On August 29, 2008, JDC Lighting, Unalite,
             and Hudson Bay entered into a $21 million
             Revolving Credit and Term Loan Agreement
             with Amalgamated Bank (the “Agreement”); GDC
             signed as guarantor. (Shea Compl. Aff. at
             ¶ 6; 7/23/10 and 7/27/10 Shea Seizure Affs.
             at ¶ 7.)

 (See also Shea Compl. Aff. at ¶ 3 and 7/23/10 and 7/27/10 Shea

 Seizure Affs. at ¶ 4 (the conspirator defendants “orchestrated a

 scheme to defraud Amalgamated Bank by obtaining loans for

 subsidiaries of [GDC]”); Shea Compl. Aff. at ¶ 20 and 7/23/10

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 and 7/27/10 Shea Seizure Affs. at ¶ 21 (“I have reviewed the

 Agreement that Amalgamated Bank entered into with GDC (as

 guarantor) and GDC’s subsidiaries on August 29, 2008.”).)             The

 court finds, therefore, that there was no false statement with

 respect to GDC’s role as guarantor of Amalgamated’s loans to

 GDC’s subsidiaries, and defendants have failed to show that this

 alleged inaccuracy was a “deliberate falsehood” or a statement

 made with “reckless disregard for the truth.”          Franks, 438 U.S.

 at 171; see also United States v. Villegas, No. 92 CR 699, 1993

 U.S. Dist. LEXIS 18042, at *43 (S.D.N.Y. Dec. 22, 1993) (denying

 Franks hearing because “[u]nder these circumstances, there ha[d]

 been no showing that the government made a ‘misstatement’ at

 all”).

             The second statement in the Shea Affidavit that

 defendants contend is false is the statement in paragraph 6 that

 “GDC has obtained approximately $21 million in loans . . . on

 the basis of false financial statements and other

 misrepresentations.”        (ECF No. 90, Defs. Seizure Mem., at 36;

 Shea Aff. at ¶ 6.)     Defendants contend that Shea’s affidavits

 fail to “set forth a single misrepresentation made to obtain the

 loan,” and did not “attach or describe any false financial

 statement made to obtain the loan.”         (ECF No. 90, Defs. Seizure

 Mem., at 36.)     Defendants’ argument again fails.        First,

 paragraph 6 of the Shea Affidavit recounts that a confidential

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 source provided the information.           (Shea Aff. at ¶ 6.)   Second,

 the affidavits do not say that the defendants’ false statements

 were made to induce Amalgamated to enter into the Revolving

 Credit Line and Term loan agreement on August 29, 2008.             (See

 7/23/10 and 7/27/10 Shea Seizure Affs. at ¶ 7.)            Rather, the

 Shea affidavits provide numerous examples of false financial

 statements and false financial documents that the defendants

 submitted to Amalgamated subsequent to the August 2008

 Agreement, to continue to obtain funds from Amalgamated under

 the loan agreements.        (7/23/10 and 7/27/10 Shea Seizure Affs. at

 ¶¶ 8-18.)    Accordingly, defendants have not established that

 this alleged misstatement entitles them to a Franks hearing.

             Third, defendants contend that Agent Shea falsely

 stated in all of his affidavits that there was probable cause to

 seize “any and all funds on deposit” at Chase and Amalgamated,

 when the agent knew or should have known that the accounts held

 funds from legitimate customers.           (ECF No. 90, Defs. Seizure

 Mem., at 36.)     Defendants generally cite to the Howard affidavit

 in support of their statement that the Chase Unalite accounts

 did not hold fraudulent loan proceeds.          (Id.)   The court first

 notes that the Howard affidavit merely cites to the Bachrach

 affidavit, which, in turn, attached only three months of Unalite

 bank statements from January to March 2010, without explanation,

 much less from anyone with knowledge as to how those statements

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 establish that no fraud proceeds were deposited into their

 accounts.    (Id.; Bachrach Aff.)     Moreover, the Shea Seizure

 Affidavits explicitly set forth CS-1’s professed familiarity

 with GDC’s financial transactions, and CS-1’s statement that

 fraudulently obtained funds from Amalgamated were deposited into

 a subject account and then disbursed among the remaining subject

 accounts as needed to run the businesses, and that the balance

 of the subject accounts would be “far below the total amount of

 fraud proceeds.”     (Shea Aff. at ¶ 7.)     Furthermore, in Agent

 Shea’s 7/23/10 and 7/27/10 seizure affidavits, Agent Shea noted

 that upon the July 23, 2010 arrest of defendant Frank Patello,

 the controller of GDC, Patello confirmed the statements of CS-1

 that the fraud proceeds were initially deposited into a GDC

 account and then disbursed throughout the subject accounts,

 including the Chase Bank Unalite accounts.         (7/23/10 and 7/27/10

 Shea Seizure Affs. at ¶ 32.)       The court thus again finds that

 defendants have not shown a false statement by Agent Shea,

 notwithstanding defendants’ unsupported arguments that CS-1 and

 Patello were not truthful.

             Defendants next argue that all of the affidavits

 contained material omissions that warrant a Franks hearing.

 Specifically, defendants claim that the affidavits omitted that

 (1) “these were legitimate, functioning, ongoing businesses with

 nearly $60 million in trailing sales, and hundreds of long-

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 standing legitimate customers”; (2) the businesses were current

 on their interest payments on the loans in question; (3) the

 businesses had not drawn on the loan in question for nearly six

 months and during that same time had paid nearly $600,000 in

 interest to Amalgamated, as well as nearly $300,000 in

 principal; and (4) the majority of the Amalgamated loan proceeds

 were paid to a predecessor lender.        (See ECF No. 91-1,

 Memorandum in Support of Defendants’ Joint Motion to Suppress

 (“Defs. Mot. Suppress”) at 9; ECF No. 90, Defs. Seizure Mem., at

 36-37.)    In response, the government argues that the first

 omission regarding defendants’ description of the businesses of

 GDC and its subsidiaries is irrelevant because defendants are

 accused of defrauding their lenders, not their customers.            (ECF

 No. 98, Memorandum of Law in Opposition to Defendants’ Motion to

 Suppress (“Govt. Opp. Suppress”) at 26-27; see also ECF No. 100,

 Govt. Seizure Opp., at 23-25.)       Similarly, the government argues

 that the second and third omissions regarding the status of the

 loans are irrelevant because “the Complaint does not suggest

 that the subsidiaries were not current on the loan.           To the

 contrary, the Complaint makes clear that the crime consisted in

 how the loan was obtained and perpetuated.”         (ECF No. 98, Govt.

 Opp. Suppress, at 27.)      Finally, the government argues that the

 fourth omission regarding the payment of the Amalgamated loan

 proceeds to a predecessor lender is immaterial by setting forth

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 the analogy that “[i]f the defendants robbed Peter to pay Paul,

 that motive would not render a description of the robbery

 misleading.”    (Id. at 27-28.)

             The court agrees that the omissions do not establish a

 “substantial showing” that the government’s affidavits contained

 a deliberate falsehood, or made omissions of material fact with

 reckless disregard for the truth.         Rather, the government’s

 affidavits established probable cause for the search, seizures

 and arrests.    See United States v. Mandell, 710 F. Supp. 2d 368,

 375-77 (S.D.N.Y. 2010) (denying Franks hearing where defendant

 failed to show that affiant’s alleged omissions, including

 defendant’s engagement in lawful trading activities, was done

 with reckless disregard for the truth); see also United States

 v. Chow, No. 01-CR-291, 2001 U.S. Dist. LEXIS 17834, at *11

 (E.D.N.Y. Nov. 2, 2001) (denying Franks hearing and finding that

 facts omitted, even if included, would not have been material to

 magistrate judge’s findings of probable cause); United States v.

 Gotti, 399 F. Supp. 2d 214, 221 (S.D.N.Y. 2005) (denying Franks

 hearing where “affidavit presents ample evidence to support a

 probable cause determination even if all of the five statements

 or omissions [were] purged from” the affidavit).          The court also

 notes that defendants did not set forth any legal support for

 their contrary contention that these omissions require a Franks

 hearing.    (See ECF No. 90, Defs. Seizure Mem., at 35-38; ECF No.

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 91-1, Defs. Mot. Suppress, at 26, final paragraph).

 Accordingly, defendants’ request for a Franks hearing is denied.

              For all of the reasons set forth above, defendants’

 motions seeking relief from the seizure of funds are denied.


       II.    Defendants’ Motions to Suppress

              a. Standard

              The Fourth Amendment provides that “no Warrants shall

 issue, but upon probable cause, supported by Oath or

 affirmation, and particularly describing the place to be

 searched, and the persons or things to be seized.”           U.S. Const.

 amend. IV.     A valid search warrant rests on a finding that

 probable cause exists to believe that (1) a crime has been

 committed and (2) evidence or instrumentalities of the crime

 will be found in the place to be searched.         United States v.

 Souza, No. 06-CR-806, 2008 U.S. Dist. LEXIS 21772, at *45

 (E.D.N.Y. Mar. 19, 2008) (citing United States v. Travisano, 724

 F.2d 341, 346 (2d Cir. 1983)).       Probable cause may be

 established by a “probability or substantial chance of criminal

 activity.”     United States v. Valentine, 539 F.3d 88, 93 (2d Cir.

 2008).

               “[A]n evidentiary hearing on a motion to suppress

 ordinarily is required if ‘the moving papers are sufficiently

 definite, specific, detailed, and nonconjectural to enable the


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 court to conclude that contested issues of fact going to the

 validity of the search are in question.’”          United States v.

 Pena, 961 F.2d 333, 339 (2d Cir. 1992) (quoting United States v.

 Licavoli, 604 F.2d 613, 621 (9th Cir. 1979) (internal

 alterations omitted) (quotations omitted)).          The movant must

 show, through an affidavit by an individual with personal

 knowledge, that contested issues of fact exist necessitating an

 evidentiary hearing.        See United States v. Barrios, No. 97-1364,

 2000 U.S. App. LEXIS 7133, at *2 (2d Cir. Apr. 18, 2000).

 Furthermore, if the movant’s papers do not state sufficient

 facts which, if proven, would require suppression, the court is

 not required to hold an evidentiary hearing.          United States v.

 Culotta, 413 F.2d 1343, 1345 (2d Cir. 1969).

             b. Application

                  i. Standing

             Although neither party addresses the argument, the

 court believes that the preliminary inquiry is whether

 defendants have standing to object to the documents that were

 seized pursuant to the search warrant executed on July 23, 2010

 at GDC’s premises.

             Fourth Amendment rights “are personal rights . . .

 [that] may not be vicariously asserted.”          Rakas v. Illinois, 439

 U.S. 128, 133-34 (1978).       Although corporations cannot assert

 personal rights, FCC v. AT&T Inc.,-- U.S.–-, 131 S. Ct. 1177,

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 1185 (2011) (finding that a corporation could not exercise the

 FOIA “personal privacy” exemption because it was not a person),

 here, the individual defendants challenge the search of the

 premises of their corporate employer, GDC.         Ultimately, the

 Fourth Amendment inquiry is “whether defendant has established a

 legitimate expectation of privacy in the area searched.”            United

 States v. Chuang, 897 F.2d 646, 649 (2d Cir. 1990) (citing

 United States v. Rahme, 813 F.2d 31, 34 (2d Cir. 1987)).            This

 threshold question involves two separate inquiries: (1) whether

 defendants have demonstrated a subjective expectation of privacy

 in the places and items that were searched; and (2) whether that

 expectation was one that society accepts as reasonable.            Id.

              “It is well-settled that a corporate officer or

 employee in certain circumstances may assert a reasonable

 expectation of privacy in his corporate office, and may have

 standing with respect to searches of corporate premises and

 records.”     Id.    The corporate officer or employee must show that

 he had “a possessory or proprietary interest in the area

 searched.”     Id.    The officer or employee, moreover, “must

 demonstrate a sufficient nexus between the area searched and

 [his own] work space.”       Id. (quoting United States v. Britt, 508

 F.2d 1052, 1056 (5th Cir. 1975).          Ownership or control of the

 company, participation in its affairs, and regular presence at

 its offices are all factors which are relevant to a

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 determination of whether an individual has a “reasonable

 expectation of freedom from governmental intrusion.”           United

 States v. Burke, 718 F. Supp. 1130, 1135 (S.D.N.Y. 1989) (citing

 Mancusi v. DeForte, 392 U.S. 364, 368 (1968)).

              Here, the Indictment charges that defendant Dupree was

 the president and chief executive officer of GDC.          At different

 times relevant to the Indictment, defendant Foley was GDC’s

 outside counsel and its chief operating officer and defendant

 Watts was GDC’s chief financial officer and chief investment

 officer.    (Indictment at ¶¶ 2, 3, 4.)      It is undisputed that in

 executing the search warrant, officers searched and seized

 documents from each of the defendants’ offices.           (See ECF No.

 91-1, Ex. A, Floor plan of GDC offices that were searched,

 including spaces marked “Foley,” “Dupree,” and “Watts.”)

 Furthermore, defendants participated in the affairs of GDC, and

 were regularly present at its offices.        Under these

 circumstances, as to the first prong, defendants have

 demonstrated “a possessory or proprietary interest in the area

 searched” and have standing to contest the constitutionality of

 the search warrant.     See Burke, 718 F. Supp. at 1135 (holding

 that defendants, principals and salespeople for Barclay

 Galleries, had standing to contest search warrants of three

 separate Barclay offices in Manhattan, Southampton, and

 Stamford).    As to the second inquiry, the court finds that

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 defendants’ expectation of privacy in their offices is one that

 society accepts as reasonable.       Id. (finding that defendants had

 a reasonable expectation of freedom from government intrusion in

 all three Barclay offices).

             Accordingly, defendants have standing to contest the

 search warrant executed at GDC on July 23, 2010.

                 ii. Particularity Requirement

             Defendants next argue that the search warrant did not

 meet the particularity requirement of the Fourth Amendment

 because it “lacked sufficient guidance to allow the searching

 agents to determine which items to seize.”         (ECF No. 91-1, Defs.

 Mot. Suppress, at 18.)      In response, the government argues that

 the warrant was sufficiently particular because the documents

 subject to search and seizure were limited by the phrase

 “evidence of instrumentalities of violations of 18 U.S.C.

 §§ 1341, 1343, 1344 and 1349” and because the warrant

 sufficiently described the items to be seized.            (ECF No. 98,

 Govt. Opp. Suppress, at 13-17.)       For the reasons set forth

 below, the court finds that the warrant satisfies the

 particularity requirement of the Fourth Amendment.

             The Fourth Amendment protects against “wide-ranging

 exploratory searches” unsupported by probable cause, Maryland v.

 Garrison, 480 U.S. 79, 84 (1987), by mandating that a search

 warrant describe with particularity the place to be searched and

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 the persons or things to be seized.14         The particularity analysis

 focuses on “whether the warrant was sufficiently particularized

 on its face to provide the necessary guidelines for the search

 by the executing officers.”        United States v. Hernandez, No. 09

 CR 625, 2010 U.S. Dist. LEXIS 719, at *23 (S.D.N.Y. Jan. 6,

 2010).

              “General warrants,” that authorize “a general,

 exploratory rummaging in a person’s belongings,” Coolidge v. New

 Hampshire, 403 U.S. 443, 467 (1971), are prohibited under the

 Fourth Amendment.        Andresen v. Maryland, 427 U.S. 463, 480

 (1976).    The Fourth Amendment requires particularity in the

 warrant, not in the supporting documents, but a warrant may

 permissibly cross-reference and be accompanied by supporting

 documents.        Groh v. Ramirez, 540 U.S. 551, 557 (2004); see also

 United States v. Waker, 534 F.3d 168, 172 (2d Cir. 2008)

 (discussing Groh).

              The level of specificity required by the Fourth

 Amendment depends on many factors.         The nature of the crime, for

 example, may require a broad search.         United States v. Cioffi,

 668 F. Supp. 2d 385, 391 (E.D.N.Y. 2009).          Where, as here,

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               As discussed, infra, although somewhat similar in focus to the
 particularity requirement, whether a warrant is overbroad is a distinct legal
 issue and focuses on whether the warrant authorized the search and “seizure
 of items as to which there is no probable cause.” (ECF No. 91-1, Defs. Mot.
 Suppress, at 18 n.9; ECF No. 98, Govt. Opp. Suppress, at 17.) See United
 States v. Hernandez, No. 09 CR 625, 2010 U.S. Dist. LEXIS 719, at *25-40
 (S.D.N.Y. Jan. 6, 2010) (finding that the search warrant at issue was neither
 overbroad nor insufficiently particular).

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 complex financial crimes are alleged, a warrant properly

 provides more flexibility to the searching agents.            See United

 States v. Yusuf, 461 F.3d 374, 395 (3d Cir. 2006) (“the

 government is to be given more flexibility regarding the items

 to be searched when the criminal activity deals with complex

 financial transactions”); United States v. Gotti, 42 F. Supp. 2d

 252, 274 (S.D.N.Y. 1999) (“where a particularly complex scheme

 is alleged to exist, it may be appropriate to use more generic

 terms to describe what is to be seized”); United States v.

 Cohan, 628 F. Supp. 2d 355, 362 (E.D.N.Y. 2009) (where the

 charged offense is a complex scheme, “a lengthy list of

 categories is to be expected”).        In addition, “the type of

 evidence sought is also relevant; in particular, courts have

 recognized that documentary evidence may be difficult to

 describe ex ante with the same particularity as a murder weapon

 or stolen property.”        Cioffi, 668 F. Supp. 2d at 391.

             Defendants complain that the warrant amounted to a

 general warrant because it “authorize[d] the search for and

 seizure of all, or virtually all, documents located at GDC’s

 offices whether or not they were evidence of a crime.”             (ECF No.

 91-1, Defs. Mot. Suppress, at 15.)         Although it is true that a

 warrant may lack the requisite particularity if it fails to

 inform the searching officers of the crimes for which the search

 is being undertaken, that is not the case here.            Cf. United

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 States v. George, 975 F.2d 72, 75-76 (2d Cir. 1992) (holding

 that a warrant that did not specify the crimes being

 investigated was a prohibited general warrant).           As the

 government points out, section (1) of Exhibit A to the search

 warrant clearly states that the “[t]he items to be seized are

 evidence or instrumentalities of violations of 18 U.S.C.

 §§ 1341, 1343, 1344 and 1349 . . . .”        (ECF No. 56, Executed

 Search Warrant, filed July 27, 2010.)        In addition to defining

 the term “document,” all of the categories of documents are

 further enumerated and particularized in lettered subsections of

 section (1) and thus describe the types of evidentiary

 documentation of the listed offenses.        (Id.)   Accordingly, the

 warrant explicitly made clear to the executing officers that the

 offenses being investigated in this case are mail, wire, and

 bank fraud, and attempts and conspiracy to commit the same,

 pursuant to 18 U.S.C. §§ 1341, 1343, 1344 and 1349 and that the

 items to be searched and seized were evidence of those offenses.

 (See id.)    Defendants’ reliance on George, in which “[n]othing

 on the face of the warrant [told] the searching officers for

 what crime the search [was] being undertaken,” is therefore

 misplaced.    (See ECF No. 108, Reply to Government’s Opposition

 to Defendants’ Joint Motion to Suppress (“Reply Mot. Suppress”)

 at 5-6 (citing George, 975 F.2d at 76).)



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             Defendants also complain that the government used

 “generic, catch-all phrases in its Warrant instead of the case-

 specific information it had at its disposal to describe which of

 GDC’s files were to be seized.”       (ECF No. 91-1, Defs. Mot.

 Suppress, at 21.)     However, “[t]he standard for constitutional

 particularity . . . requires only that a warrant be

 ‘sufficiently specific to permit the rational exercise of

 judgment [by the executing officers] in selecting what items to

 seize.’”    United States v. Regan, 706 F. Supp. 1102, 1110

 (S.D.N.Y. 1989) (citing United States v. La Chance, 788 F.2d

 856, 874 (2d Cir. 1986)).       Here, the warrant was sufficiently

 particular.    Specifically, Exhibit A to the search warrant

 authorized the search for and seizure of specific categories of

 documents, as defined in the warrant, both stored as hard copies

 and as electronically stored information (“ESI”):

             1. The items to be seized are evidence or
             instrumentalities of violations of 18 U.S.C. §§ 1341,
             1343, 1344 and 1349, specifically:

                  a. All documents or other materials relating to
             loans or other extensions of credit to GDC
             Acquisitions, Inc. (“GDC”) and its subsidiaries,

                   TDC Acquisitions, LLC,
                   Interconnect Lighting, LLC,
                   Image Lighting Services, LLC,
                   Image Lighting, LLC,
                   Image Lighting, Inc.,
                   Hudson Bay Environments Group,
                   LLC Unalite Electric & Lighting, LLC,
                   Unalite Southwest, LLC,
                   Unalite NJ, LLC,

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                   Unalite Distribution, LLC, and
                   JDC Lighting, LLC,

             (collectively, the “Subsidiaries”), such as loan
             agreements, loan applications, Borrowing Base
             Certificates, and other documents provided to
             creditors in support of extensions of credit from the
             following entities:

                   MVC Capital, Inc.,
                   C3 Capital LLC,
                   Steelcase Inc.,
                   Steelcase Financial Services, Inc., and
                   Amalgamated Bank,

             (collectively, the “Creditors”), and all bank records,
             including, but not limited to, account statements and
             documents related to transactions in bank accounts
             such as canceled checks and wire transfer records, for
             the period from January 1, 2006 to the present;

                  b. All documents relating to assets, liabilities,
             income, expenses, sales and accounts receivable of GDC
             or the Subsidiaries, including, but not limited to,
             accounting records, general ledgers, work papers,
             journals relating to the receipt or disbursement — or
             anticipated receipt or disbursement — of money or
             property, financial statements, trial balances,
             records detailing the relative age of various accounts
             receivable, invoices, and federal and state tax
             records (including income tax records), for the time
             period from January 1, 2006 to the present;

                  c. All documents relating to any mail box located
             at a commercial mail receiving agency, including, but
             not limited to, customer applications and
             correspondence;

                  d. All documents relating to communications or
             contacts between the conspirators and any of their
             principals, employees, or agents, or the Creditors,
             including, but not limited to, letters, phone
             messages, e-mail, text messages, “chat,” or instant
             messages, including any attachments to such e-mails or
             messages, sent by or received by the user(s) of any
             computer located at the SUBJECT PREMISES, whether
             saved or deleted, and whether contained directly in

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             an e-mail, text message, chat, or instant message
             account or in a customized “folder”;

                  e. All documents relating to the conspirators’,
             or any of their principals’, employees’, or agents’
             calendar, contact, or personal planner data or files
             including, but not limited to, data contained in
             Outlook, Lotus Notes, or Eureka, created or maintained
             by the user(s) of any computer located at the SUBJECT
             PREMISES.

             With respect to enumerated documents in Exhibit A, the

 court finds that the descriptions of the items to be seized were

 sufficiently particular because the executing officers could

 “rationally understand and interpret these terms.”           Regan, 706

 F. Supp. at 1110; see also United States v. Dinero Express,

 Inc., No. 99 CR 975, 2000 U.S. Dist. LEXIS 2439, at *24

 (S.D.N.Y. Mar. 1, 2000).

             On the other hand, the officers’ seizure of ESI

 requires further analysis.       Although the Fourth Amendment

 standard of “reasonableness” applies to both ESI and hardcopy

 documents, district courts in this circuit have noted that

 searching for ESI raises unique Fourth Amendment issues.            See,

 e.g., United States v. Vilar, No. 05-CR-621, 2007 U.S. Dist.

 LEXIS 26993, at *111 (S.D.N.Y. Apr. 4, 2007); United States v.

 D’Amico, 734 F. Supp. 2d 321, 365 (S.D.N.Y. 2010).

 Specifically, computer files, unlike hard copies, are able to

 contain large amounts of information which may cause

 intermingling between documents that the government has probable


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 cause to seize and others that it does not.          Vilar, 2007 U.S.

 Dist. LEXIS 26993, at *112.        Unlike paper files, computer files

 can easily be renamed or encrypted such that a computer user can

 manipulate, delete, or hide incriminating files.             Id. at *115.

 Indeed, it is not surprising that “some of the most important

 evidence of criminal conduct is often found buried in

 computers.”     Id. at *115-16.     Although the imaging of a computer

 causes less disruption to a user than its seizure and removal,

 where the government images rather than seizes the computers at

 issue, “law enforcement officers . . . might be tempted to

 rummage through a computer’s files well beyond the scope of a

 warrant.”     Id. at *114.    Despite these concerns, courts

 acknowledge that unless courts issued warrants allowing the

 government to search computers, they may become a safe haven for

 criminals.     Id. at *115-16.

              Notwithstanding unique challenges raised by computer

 searches, the ultimate Fourth Amendment standard is the same for

 both computer and hard-copy searches: reasonableness.             Id. at

 *116-17.    When the government seeks to seize information stored

 on a computer, as opposed to the computer itself, a search and

 seizure of the underlying information must be identified with

 particularity and supported by probable cause.             Id. at *117.

              Here, the affidavit and warrant, authorizing search

 and seizure of evidence of specified violations, provides a

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 definition of the term “documents” that includes electronic

 documents.    More particularly, the search warrant, at Exhibit A

 subsection (e), authorizes seizure of evidence of violations of

 18 U.S.C. §§ 1341, 1343, 1344 and 1349, specifically, “All

 documents relating to the conspirators’, or any of their

 principals’, employees’, or agents’ calendar, contact, or

 personal planner data or files including, but not limited to,

 data contained in Outlook, Lotus Notes, or Eureka, created or

 maintained by the user(s) of any computer located at the SUBJECT

 PREMISES.”    (ECF No. 56, Executed Search Warrant, filed July 27,

 2010, at ¶ 1(e).)     Courts in this district have upheld similar

 warrants for ESI.     See, e.g., Dinero Express, Inc., 2000 U.S.

 Dist. LEXIS 2439, at *22-24 (finding that a warrant that sought,

 without time frame, “computer records” related to money

 transfers, employee bank accounts, currency transaction reports,

 business relationship agreements, accounting and financial

 information, wire transfers made by the business, and ownership

 of the business was sufficiently particular); United States v.

 Bryant, No. 95 Cr. 240, 1995 U.S. Dist. LEXIS 13537, at *6

 (S.D.N.Y. Sept. 15, 1995) (warrant that listed “computers and

 software used to prepare the [tax] returns” was sufficiently

 particular).

              The court’s inquiry, however, does not end with the

 seizure of the documents.       The court must also consider whether

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 the government’s subsequent search of GDC’s computers that it

 imaged during the execution of the search warrant passes

 constitutional scrutiny.      “While the warrant must state with

 particularity the materials to be seized from a computer, the

 warrant need not specify how the computers will be searched.”

 Vilar, 2007 U.S. Dist. LEXIS 26993, at *121 (emphasis in

 original).    Indeed, “it is generally left to the discretion of

 the executing officers to determine the details of how best to

 proceed with the performance of a search authorized by warrant.”

 Id. at *122-23 (quoting Dalia v. United States, 441 U.S. 238,

 257 (1979)).    This rule “avoids the courts getting into the

 business of telling investigators how to conduct a lawful

 investigation, something the courts are ill-equipped to do”

 because “searching a computer for evidence of a crime can be as

 much an art as a science.”       Id. at *123-24 (quoting United

 States v. Brooks, 427 F.3d 1246, 1252 (10th Cir. 2005)).

              Although the government is not required to include in

 its application for a search warrant a search protocol,

 enumerating the methods that the government might use to search

 computers, where the government does so, courts have found the

 warrant sufficiently particular.          Vilar, 2007 U.S. Dist. LEXIS

 26993, at *125-26 (holding that although the standards of

 protocol were not perfect, they were “far more than the

 Constitution required”); see also D’Amico, 734 F. Supp. 2d at

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 366-67 (holding that the digital search protocol outlined in the

 warrant application passed constitutional muster because it

 specified the types of business records and documents to be

 searched as well as provided some information regarding the

 search techniques that the government contemplated using).

              Here, Paragraph 2 of Exhibit A annexed to the search

 warrant, signed by Judge Go on July 21, 2010, prescribed a

 “search procedure,” whether performed “on site or in a

 laboratory, or other controlled environment,” which included

 “seizure of any computer or computer-related equipment or

 data . . . .”       (ECF No. 56, Executed Search Warrant, filed July

 27, 2010.)        Judge Go added a handwritten notation to the warrant

 which directed that “the search of computers and electronic

 devices shall be in accordance with the procedures set forth in

 the affidavit of Agent Shea.”        (Id.)   Defendants contend, and

 the government does not dispute, that Agent Shea’s affidavit,

 which included a detailed proposed protocol for searching

 electronic data, was not attached to the warrant nor

 incorporated by reference.        (See id.)15   By the terms of the


              15
               In contrast to the Supreme Court’s decision in Groh v. Ramirez,
 540 U.S. 551 (2004), this omission is not fatal to the constitutionality of
 the search in the instant case. In Groh, the court found that a warrant that
 identified the place to be searched but “did not describe the items to be
 seized at all,” violated the Fourth Amendment. Id. at 558 (emphasis in
 original). The Groh court further held that the warrant was not saved by
 virtue of an affidavit that described the things to be seized because the
 warrant did not incorporate the affidavit and because there was “no written
 assurance that the Magistrate actually found probable cause to search for,
 and to seize, every item mentioned in the affidavit.” Id. at 560. In the

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 search warrant, the government was authorized to seize the

 computers rather than search the computers on site, but instead

 employed the less drastic measure of imaging the computers.

 Indeed, the agents risked damaging the integrity of the evidence

 by attempting to remove the computers or access the computers at

 the scene and the time necessary to search the computers at GDC

 would have unnecessarily burdened not only law enforcement

 resources but also GDC’s ability to conduct its business and

 utilize its computers.        See United States v. Hill, 459 F.3d 966,

 974-75 (9th Cir. 2006).       Defendants have proffered no reason to

 question whether the executing agents followed the protocol

 prescribed in Agent Shea’s affidavit in searching the imaged

 computers.        Accordingly, defendants’ motions to suppress

 documents seized during the execution of the search warrant on

 July 23, 2010 at GDC on the ground that the warrant was not

 sufficiently particular are denied.16



 instant case, the warrant specifically enumerated a list of items to be
 seized, the offenses charged, and the entities and individuals allegedly
 involved in the charged offenses. (See ECF No. 56, Executed Search Warrant,
 filed July 27, 2010, at ¶ 1.) Accordingly, although Agent Shea’s affidavit
 was not attached to or incorporated into the warrant, the warrant itself was
 sufficiently particular in describing the items to be seized to satisfy the
 Fourth Amendment.
              16
               Defendants correctly assert that the “all-records” exception to
 the prohibition against general warrants is inapplicable to the instant case
 because it is undisputed that GDC maintained a legitimate business in
 addition to the offenses charged here. It is also undisputed that the
 government did not seize “all records” of GDC. See, e.g., United States v.
 Burke, 718 F. Supp. 1130, 1139 (S.D.N.Y. 1989) (“When there is probable cause
 to believe that a business is pervaded with fraud, seizure of all records is
 appropriate and, thus, a broad warrant would pass constitutional scrutiny.”);
 (See also ECF No. 108, Reply Mot. Suppress, at 8-9; Shea Complaint Aff. at

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               iii. Overbreadth

             Defendants next argue that the search warrant was

 overbroad in violation of the Fourth Amendment in that it

 authorized “the search for and seizure of all, or virtually all,

 documents located at GDC’s offices,” without probable cause to

 believe the item represents evidence of a crime.           (ECF No. 91-1,

 Defs. Mot. Suppress, at 15.)       Defendants contend the agents were

 thus vested with “unbridled discretion to conduct an exploratory

 rummaging of Defendants’ papers in search of evidence.”             (Id. at

 1.)   The government responds that defendants have not provided a

 basis to disturb the Magistrate Judge Go’s finding of probable

 cause and the “defendants’ claim of overbreadth . . . ignores

 the specific factual context of this case.”          (ECF No. 98, Govt.

 Opp. Suppress, at 18.)      As set forth below, the court finds that

 the warrant was not overbroad because there was probable cause

 to believe that the specific items to be searched for and seized

 constituted evidence or instrumentalities of the specified

 offenses.

             In contrast to the particularity analysis, the

 overbreadth analysis focuses on whether the magistrate judge

 authorized search warrants that provided for the seizure of

 specific items for which there was no probable cause.


 ¶ 3 (referring to GDC as a holding company of a lighting distributor, a
 lighting maintenance company, and a furniture distributor).)

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 Hernandez, 2010 U.S. Dist. LEXIS 719, at *25.         The determination

 of whether there was probable cause sufficient to support the

 breadth of the warrant is based on a totality-of-the-

 circumstances analysis.      See Illinois v. Gates, 462 U.S. 213,

 238 (1983).      A finding of probable cause requires a “practical,

 common-sense decision whether, given all the circumstances set

 forth in the affidavit, . . . there is a fair probability that

 contraband or evidence of a crime will be found in a particular

 place.”    Id.    The court’s review of a search warrant “should

 start with the proposition that the magistrate’s finding of

 probable cause is entitled to substantial deference.”           United

 States v. Travisano, 724 F.2d 341, 345 (2d Cir. 1983); Cohan,

 628 F. Supp. 2d at 364 (“When reviewing a search warrant for

 probable cause, ‘great deference’ must be given to the

 magistrate’s original probable-cause determination.”).

               Here, a review of the Complaint Affidavit and the

 Affidavit in Support of Application for Search and Seizure

 Warrants establishes that Magistrate Judge Go had a substantial

 basis to determine that the scope of the search warrant was

 appropriate.     Although, as defendants assert, some of the

 categories listed in the warrant are not limited by date, Agent

 Shea’s affidavits describe a scheme of significant duration and

 complexity to defraud to Amalgamated Bank such that the warrant

 may properly include a broad range of documents.          (See generally

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 Shea Complaint Aff.); see also Yusuf, 461 F.3d at 395 (“the

 government is to be given more flexibility regarding the items

 to be searched when the criminal activity deals with complex

 financial transactions”); Gotti, 42 F. Supp. 2d at 274 (“where a

 particularly complex scheme is alleged to exist, it may be

 appropriate to use more generic terms to describe what is to be

 seized”); Cohan, 628 F. Supp. 2d at 362 (where the charged

 offense is a complex scheme, “a lengthy list of categories is to

 be expected”).     The Complaint Affidavit asserts that the

 conspirators inflated GDC’s accounts receivable on the

 consolidated financial statements and BBCs by booking fictitious

 sales, “re-aging” the accounts receivable by issuing credits for

 old sales invoices, prematurely recognizing sales and the

 corresponding revenue, and failing to reduce the accounts

 receivable with cash received from customers.         (Shea Complaint

 Aff. at ¶ 5.)     Further, the Complaint Affidavit describes how

 the defendants created fictitious ledgers, databases,

 corporations, vendors, financial statements, invoices and other

 documents.    (See, e.g., id. at ¶¶ 5, 7, 9, 10, 13, 14, 16, 18,

 22-27.)    Agent Shea affirmed that in his professional

 experience, the scheme was likely to involve numerous documents,

 including bank account information and records, loan records,

 accounting records, invoices, federal and state tax records,

 consumer applications, correspondence, and calendars and

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 personal planners.     (Shea Aff. at ¶ 10).      Each of these

 categories of documents is reasonably related to the alleged

 criminal activity and their search and seizure is justified by

 the affidavit.     See, e.g., D’Amico, 734 F. Supp. 2d at 365

 (finding constitutionally sufficient a warrant that sought, for

 example, “[a]ll documents . . . including but not limited to:

 bank records, accounting records, financial documents, sales

 records, records relating to owners, creditors and investors,

 employees, records relating to product distributors and

 customers, records relating to suppliers, records relating to

 sales and marketing, and records relating to communications”).

             Defendants argue that the warrant is “not limited to

 any time period.”     (ECF No. 91-1, Defs. Mot. Suppress, at 10.)

 In response, the government argues that the time frame should be

 understood in the context of the fraud’s “duration, breadth and

 complexity.”    (ECF No. 98, Govt. Opp. Suppress, at 18.)          The

 court agrees.     The court finds that neither the time frame

 provided for in the warrant as to some items, nor the lack of

 time frame as to other items, renders the warrant overbroad.

             A failure to indicate a time frame could render a

 warrant overbroad because it could “allow[] the seizure of

 records dating back arbitrarily far” and could be untethered to

 the scope of the affidavit which ostensibly provided probable

 cause.    Cohan, 628 F. Supp. 2d at 365.      “Unlike in more

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 straightforward, ‘single-act’ criminal cases, however, a time

 frame is less relevant to a warrant’s breadth where the criminal

 acts are complex and necessarily extend over a significant

 period of time.”     Hernandez, 2010 U.S. Dist. LEXIS 719, at *30.

             Applying these standards, the court finds that first,

 on its face, the warrant contains several temporal limitations.

 As to items (1)(a) and (1)(b), records are limited to the

 “period from January 1, 2006 to the present.”         (ECF No. 56,

 Executed Search Warrant, filed July 27, 2010.)            Second, to the

 extent that items (1)(c), (1)(d), and (1)(e) lack a temporal

 limit, because Agent Shea’s affidavit described a complex multi-

 year fraud scheme, the court finds that the omission of a

 temporal limit does not render the warrant overbroad and

 unconstitutional.     See, e.g., Hernandez, 2010 U.S. Dist. LEXIS

 719, at *31 (“Given the complex nature of the criminal scheme

 and the number of years in which it was ongoing, a lack of a

 specific time frame in the search warrants is not sufficient in

 of itself to render the warrants constitutionally overbroad.”).

 Because the government charges a scheme in which defendants, for

 example, created fictitious sales and “re-aged” accounts

 receivable, the government needed to compare records that pre-

 date what was believed to be the commencement of the fraud to

 records containing material false statements that were used to

 maintain the fraud.     Moreover, the Shea Affidavit in Support of

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 the Search and Seizure Warrants, at paragraph 5, incorporated

 the Shea Complaint and Affidavit in Support of Application for

 Arrest Warrants, which described Dupree’s alleged

 acknowledgement, in a consensually recorded conversation on May

 18, 2010, that he had participated in financial and accounting

 fraud in connection with bank examinations and audits for years

 before the May 2010 conversation.         (Shea Complaint Aff. at

 ¶ 17.)    Following an examination by Amalgamated of GDC’s books,

 Dupree is quoted as acknowledging that co-defendant Patello left

 GDC in March 2010 because of Patello’s concern that the bank

 examination would discover the fraud.        (Id.)   Referring to GDC’s

 accounting, Dupree tells CS-1 that he is “a lot smarter than

 you” and says, “I’ve done this for . . . six years and for five

 years before you [CS-1] got here.”        (Id.)   Six years prior to

 Dupree’s May 18, 2010 recorded statement would be May 2004.             In

 addition, accordingly to defendants, Serrano, the CS-1, was

 hired by GDC on a temporary basis in August 2008 and on a

 permanent basis in September 2008 (ECF No. 91-1, Defs. Mot.

 Suppress, at 6); thus, five years “before [CS-1] got [to GDC]”

 would be August 2003.       Given the duration of the offenses

 charged and that the charged fraud employed techniques such as

 booking fictitious sales and accounts receivable, creating dual

 databases and “re-aging” reports, because the government would

 necessarily attempt to ascertain the companies’ finances before

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 the charged fraud activity occurred, and because the scheme

 required at least twenty GDC employees to maintain, (see

 generally Shea Complaint Aff.), the court finds that Magistrate

 Judge Go’s review of the Shea Affidavit provided a substantial

 basis to believe that the warrant was supported by probable

 cause, despite its temporal breadth.         Accordingly, the court

 finds that the warrant was not unconstitutionally overbroad.17

                  iv. Execution of the Warrant

             Defendants next argue that the agents executing the

 warrant failed to comply with its terms and “seized documents

 indiscriminately.”     (ECF No. 91-1, Defs. Mot. Suppress, at 23.)

 In response, the government argues that the executing agents did

 not flagrantly disregard the warrant’s terms.           (ECF No. 98,

 Govt. Opp. Suppress, at 20.)

             Flagrant disregard of a warrant is found only in

 extraordinary cases such as those where the government affects a

 widespread seizure of items clearly not within the scope of a

 warrant and does not act in good faith, or when the lawful basis

 of a warrant was a pretext for the otherwise unlawful aspects of

 a search.    See United States v. Hamie, 165 F.3d 80, 83-84 (1st


             17
               Moreover, even if the court had found that the warrant was
 overbroad or lacked particularity, the search would be saved by the “good
 faith” exception recognized by the Supreme Court in United States v. Leon,
 468 U.S. 897 (1984) (stating that the good faith exception will protect
 against a suppression motion so long as the search was executed pursuant to
 the good faith reliance of the agents on a search warrant, unless the warrant
 is so facially deficient that reliance upon it is unreasonable).

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 Cir. 1999); United States v. Foster, 100 F.3d 846, 851-52 (10th

 Cir. 1996) (finding flagrant disregard where officers

 disregarded the warrant and searched for “anything of value”);

 United States v. Dzialak, 441 F.2d 212, 217 (2d Cir. 1971)

 (describing a general search as one where agents spent hours

 ransacking a house for any possible incriminating evidence and

 the number of items seized outside the scope of the warrant far

 outnumbered those described in the warrant).

             The court finds that the executing officers did not

 flagrantly disregard the terms of the search warrant here.

 Defendants complain that the government seized documents not

 relevant to the charges in this case, such as, inter alia,

 “[d]efendants’ personal USB drives,” “human resources

 documents,” “undated PNC corporate statements,” “the credit

 report of Defendant Watts,” and “documents related to a cleaning

 business owned by Defendants Watts.”        (ECF No. 91-1, Defs. Mot.

 Suppress, at 13.)     However, the court finds that such documents

 are not properly characterized as irrelevant to the instant

 charges or clearly outside the scope of the warrant, and even if

 some of these documents were outside the scope of the warrant,

 they do not outnumber the documents described in the warrant.

 The seizure of these documents, therefore, does not evidence

 flagrant disregard of the terms of the warrant.



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             The Shea Affidavit set forth the government’s probable

 cause to believe that documents constituting evidence or

 instrumentalities of conspiracy to commit bank fraud, mail fraud

 and wire fraud would include, inter alia, “[d]ocuments relating

 to the finances of persons or entities perpetrating the

 fraud . . . bank records . . . assets, liabilities, income,

 expenses . . . .”     (Shea Aff. at ¶ 10.)      The warrant authorized

 seizure of documents relevant to the government’s investigation

 to determine where the proceeds of the fraud were routed,

 including documents relating to communications between

 conspirators and others and relating “to the conspirators’ . . .

 personal planner data or files.”          (ECF No. 56, Executed Search

 Warrant, filed July 27, 2010, at ¶ 1(d) and (e).)          Thus,

 evidence of the defendants’ use of the proceeds from the fraud

 to finance their businesses, improve their credit scores, or pay

 themselves bonuses or employment-related benefits could be found

 in documents specified in the warrant, including the

 conspirators’ communications and contacts with one another,

 their principals, employees or agents, and the conspirators’

 personal files, all of which are relevant to the government’s

 investigation of the charged fraud.          Cf. United States v. Bowen,

 689 F. Supp. 2d 675, 679-80 (S.D.N.Y. 2010) (finding probable

 cause to search a defendant’s home where court found that there

 was at least a “fair probability” that some of $7 million

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 acquired in a fraud were used for personal expenses, evidence of

 which could be found in defendant’s home).         Moreover, the court

 agrees with the government that defendants have offered no

 reason to doubt that the executing officers acted in good faith.

 (See ECF No. 98, Govt. Opp. Suppress, at 22 (citing United

 States v. Leon, 468 U.S. 897, 922 (1984)).

             Accordingly, the court finds that the officers acted

 properly in executing the search warrant and defendants’ motions

 to suppress the documents seized pursuant to the warrant on this

 ground are denied.

                  v. Confidential Source

             Defendants request a hearing “to determine whether the

 government engaged in conduct which further violated their

 Fourth Amendment rights when it . . . received documents stolen

 from the GDC premises by a confidential government informant and

 utilized those improperly obtained documents in its application

 for a search warrant. . . .”       (ECF No. 91-1, Defs. Mot.

 Suppress, at 2, 6-8.)       Defendants point out that the Shea

 Affidavit cites numerous emails to which the confidential

 source, Serrano, was not a party, or which pre-dated Serrano’s

 hiring.    Defendants, however, admit that Dupree expressly

 authorized Serrano to access Patello’s emails, thus allowing

 Serrano to obtain emails that pre-dated Serrano’s employment and

 to which Serrano was not a party.         (ECF No. 91-3, Defs. Pros.

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 Misconduct Mem., at 5-7.)       Defendants argue that because Serrano

 was acting as a government agent who “impermissibly stole

 multiple e-mails to which he was not a party and gave them to

 the government,” Serrano needed a warrant to seize GDC’s

 documents.    (ECF No. 91-1, Defs. Mot. Suppress, at 7.)

 Defendants also assert that Serrano stole at least one document

 covered by the attorney-client privilege, specifically an email

 between co-defendants Dupree and Foley, who was then outside

 counsel.    (Id. at 7-8.)

              In response, the government argues that “the

 exclusionary rule does not apply to evidence obtained by non-

 governmental action,” and notes that defendants incorrectly

 presume that “Serrano was acting at the direction of the

 government when he obtained the emails . . . .”           (ECF No. 98,

 Govt. Opp. Suppress, at 11-12.)       Moreover, the government

 asserts that Serrano was not a government agent because “Serrano

 and his lawyer contacted the FBI, not vice versa, and by that

 time Serrano had already obtained and collected the documents he

 later provided to the government” and thus defendants “cannot

 meet their burden to establish that Serrano acted as a

 government agent at the time he took the GDC documents into his

 possession.”    (Id. at 12.)     Neither party supports their version

 with factual affidavits.      For the reasons set forth below, the

 court finds that government’s reliance on a confidential source

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 does not establish a basis to grant defendants an evidentiary

 hearing.

             The Second Circuit has stated that “reliance on a

 confidential informant is permissible in an affidavit submitted

 in support of a request for a search warrant.”             United States v.

 Smith, 9 F.3d 1007, 1013 (2d Cir. 1993) (citations omitted).

 Moreover, only where evidence is obtained by a government actor

 does the exclusionary rule apply.          Coolidge, 403 U.S. at 487.

 To determine whether a private party acted as a government

 agent, the court must consider whether “the government knew or

 at least acquiesced in the search and seizure” and whether “the

 private searcher intended to assist law enforcement as opposed

 to simply achieving his own ends.”           United States v. Gleave,

 786 F. Supp. 258, 286 (W.D.N.Y. 1992) (citing United States v.

 Bennett, 709 F.2d 803, 805 (2d Cir. 1983)).          Defendants bear the

 burden to establish that a private party acted as a government

 instrument or agent.        United States v. Feffer, 831 F.2d 734, 739

 (7th Cir. 1987); United States v. Couch, 378 F. Supp. 2d 50, 55

 (N.D.N.Y. 2005) (citing Feffer).

             Here, it is undisputed that the government relied, in

 part, on emails provided to it by a confidential source, Emilio

 Serrano, who, according to defendants, commenced employment on a

 temporary basis in August 2008, on a permanent basis as

 assistant controller in September 2008, and as controller and

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 head of accounting in March 2010.         (ECF No. 108, Reply Mot.

 Suppress, at 3 n.2.; ECF No. 91-1, Defs. Mot. Suppress, at 6.)

 Defendants have provided no evidence to contradict the

 government’s assertion that “Serrano and his lawyer contacted

 the FBI, not vice versa, and by that time Serrano had already

 obtained and collected the documents he later provided to the

 government.”    (ECF No. 98, Govt. Opp. Suppress, at 12.)

 Defendants therefore have not met their burden of establishing

 that Serrano was acting as a government agent when he obtained

 the disputed emails.

              Notwithstanding this failure, defendants, citing

 Walter v. United States, 447 U.S. 649, 653 (1980), assert that

 even if Serrano initiated contact with the government, only the

 government’s seizure, but not its review, of the documents would

 have been allowed.     (ECF No. 108, Reply Mot. Suppress, at 3-4.)

 The court finds Walter distinguishable.         In Walter, employees of

 L’eggs Products, Inc. mistakenly received 871 boxes of 8-

 millimeter films depicting sexual activities.         447 U.S. at 651.

 The employees “opened each of the packages, finding . . .

 individual boxes of films.       They examined the boxes, on one side

 of which were suggestive drawings, and on the other were

 explicit descriptions of the contents,” but were not able to

 view the contents of the boxes of films contained therein.            Id.

 at 651-52.     Thereafter, the employees called the FBI, and agents

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 opened the boxes of films and viewed the films with a projector

 without first obtaining a warrant.         Id. at 652.    Petitioners

 were indicted on obscenity charges relating to interstate

 transportation of the films.       Id.    The court held that by

 viewing the films, the FBI had conducted a search in violation

 of the Fourth Amendment, explaining that “[t]he projection of

 the films was a significant expansion of the search that had

 been conducted previously by a private party and therefore must

 be characterized as a separate search.        That separate search was

 not supported by any exigency, or by a warrant even though one

 could have easily been obtained.”         Id. at 657.

             Although the agents in this case also did not obtain a

 separate warrant to review the emails that Serrano provided to

 them, unlike the agents in Walter, here, the agents did not

 conduct any “separate search” but instead were provided with

 copies of the emails to which Serrano was granted access by

 Dupree.    Thus, the agents merely read the emails that Serrano

 accessed, printed and provided in hard copy.            Walter is

 therefore distinguishable.       Moreover, defendants cannot claim a

 legitimate expectation of privacy in emails that they gave

 Serrano permission to access and view.         See, e.g., United States

 v. Lifshitz, 369 F.3d 173, 190 (2d Cir. 2004) (holding that,

 like letter-writers whose expectation of privacy ends upon

 delivery of the letter, individuals do not possess a legitimate

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 expectation of privacy “in transmissions over the Internet or

 e-mail that have already arrived at the recipient”).

             Because defendants bear the burden to establish that a

 private party acted as a government agent and have not provided

 any evidence to support their theory that Serrano was a

 government agent, the court finds that the agents were not

 required to obtain a separate warrant to read the emails that

 Serrano provided to them.       Accordingly, defendants’ motions to

 suppress on this ground are denied.18

                  vi. Franks Hearing

             Defendants again argue that based on misstatements and

 omissions in Agent Shea’s affidavits and on the government’s

 allegedly improper use of documents provided by Serrano, they

 are entitled to a hearing pursuant to Franks v. Delaware, 438

 U.S. 154 (1978).     For reasons discussed supra at 58-66, the

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               Finally, the court agrees with the government that the
 attorney-client communication that Serrano allegedly stole from GDC’s
 premises is covered by the “crime fraud exception” to the attorney client
 privilege. (ECF No. 98, Govt. Opp. Suppress, at 12-13 n.5.) “The crime-
 fraud exception removes the privilege from those attorney-client
 communications that are related to client communications in furtherance of
 contemplated or ongoing criminal or fraudulent conduct.” United States v.
 Jacobs, 117 F.3d 82, 87 (2d Cir. 1997) (citations omitted). “A party wishing
 to invoke the crime-fraud exception must demonstrate that there is a factual
 basis for a showing of probable cause to believe that a fraud or crime has
 been committed and that the communications in question were in furtherance of
 the fraud or crime.” Id. Here, the court finds that the government has
 shown probable cause to believe that the defendants were committing a crime.
 As set forth in the Complaint Affidavit, the defendants engaged in numerous
 conversations and communications in which they discussed the scheme with
 Serrano and amongst their employees and co-defendants. (See, e.g., Shea
 Complaint Aff., at ¶¶ 8-10, 13-17.) These communications adequately support
 the application of the crime fraud exception to attorney-client privileged
 communication that Serrano turned over to the government.


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 court finds that defendants are not entitled to a Franks hearing

 because the Shea affidavits did not contain misstatements or

 material omissions.

             For all of the reasons set forth above, defendants’

 motions to suppress are denied.



       III. Defendants’ Motions for Relief, Including Dismissal of
            the Indictment, on the Basis of Prosecutorial
            Misconduct

             a. Standard

             To constitute a due process violation on the ground of

 egregious government misconduct, the government’s actions must

 be so outrageous as to “shock the conscience.”            United States v.

 Rahman, 189 F.3d 88, 94 (2d Cir. 1999).         The Second Circuit has

 held that the defendants’ “burden of establishing outrageous

 investigatory conduct is very heavy” (id.), and the power to

 dismiss an indictment on due process grounds should be exercised

 sparingly, United States v. Sessa, Nos. 92-CR-351, 97-CV-2079,

 2011 U.S. Dist. LEXIS 7090, at *110 (E.D.N.Y. Jan. 25, 2011)

 (“The defendant bears the ‘very heavy’ burden of establishing

 such outrageous governmental conduct, and such claims rarely

 succeed.”).

             b. Application

             Defendants argue that the Indictment against them

 should be dismissed pursuant to Fed. R. Crim. P. 12(b)(2) due to

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 a “pattern of improper conduct of the government during its

 investigation and prosecution of the Defendants which undermines

 the fairness of the proceedings.”         (ECF No. 91-3, Defs. Pros.

 Misconduct Mem., at 1.)      Specifically, defendants assert the

 following allegedly improper actions by the government (some of

 which they have also asserted in support of their other

 motions):

             (1)  The affidavits in support of the applications for
                  the search and seizure warrants contained
                  material misrepresentations and omissions (id. at
                  19);
             (2) The search warrant was overbroad (id. at 19);
             (3) In executing the search warrant, law enforcement
                  disregarded its terms (id. at 7-8);
             (4) The government did not provide the defendants
                  with “notice and an opportunity to be heard”
                  before obtaining seizure warrants (id. at 21);
             (5) The seizure warrants and affidavits were filed
                  under seal (id. at 21);
             (6) Retired FBI Special Agent Martin Finn was
                  “allowed to access all areas of the office
                  throughout the search without limitations or
                  supervision” (id. at 19);
             (7) The government “obtained privileged and
                  confidential documents and communications from
                  GDC’s offices” (id. at 20);
             (8) The government told the bank not to pay the
                  defendants’ salaries (id. at 21-22);
             (9) The government has “improperly delayed in
                  unsealing the warrant affidavits” (id. at 13);
             (10) The government has used the grand jury improperly
                  (id. at 23-24); and
             (11) The government has “refus[ed] to provide
                  necessary discovery” (id. at 24).

             In opposition, the government argues that defendants’

 alleged “pattern of misconduct” is “mostly a repackaged version

 of their other motions attacking the constitutionality of the

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 search warrant and seizure warrants, coupled with a rehashing of

 their prior discovery demands, most of which have already been

 rejected by this Court.”      (ECF No. 97, Govt. Pros. Misconduct

 Mem., at 1.)    In reply, defendants argue that “[t]he

 government’s efforts to marginalize their actions by treating

 them as discreet, separate, unrelated acts is of no avail, and

 is not the prism through which prosecutorial misconduct is

 judged.”    (See ECF No. 109, Reply. Pros. Misconduct, at 3.)            For

 the reasons discussed above and as set forth below, defendants’

 motions for relief for prosecutorial misconduct, including

 dismissal of the Indictment, are denied.

                  i. Search and Seizure Warrants

              The government argues that defendants’ first four

 allegations are “essentially re-purposed versions of the

 defendants’ other motions attacking the search and seizure

 warrants.”    (ECF No. 97, Govt. Pros. Misconduct Mem., at 4.)

 Further, the government argues that none of the cases defendants

 cite relate to the issuance of search and seizure warrants, and

 are distinguishable from the conduct at issue in this case.

 (Id. at 5-9.)     The court agrees.       As discussed extensively

 above, the court has considered defendants’ arguments regarding

 the government’s application for and execution of the search and

 seizure warrants and found that they were supported by probable

 cause, properly issued, and properly executed.            Accordingly, the

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  court finds that no law enforcement or prosecutorial misconduct

  occurred with respect to the issuance and execution of the

  search and seizure warrants.

                 ii. Martin Finn’s Presence During Search of GDC

             Defendants argue that the government engaged in

  prosecutorial misconduct by allowing Martin Finn, a former FBI

  Special Agent and the husband of GDC officer Veronica Finn,

  “free and unfettered access to all areas of [GDC’s] office”

  during the execution of the search warrant.         (ECF 91-3, Defs.

  Pros. Misconduct Mem., at 9.)       In response, the government

  argues that even if defendants’ version of the events was

  accurate, it would not constitute prosecutorial misconduct.

  (ECF No. 97, Govt. Pros. Misconduct Mem., at 9.)          The government

  also argues that defendants are attempting to re-litigate their

  unsuccessful motion for a bill of particulars insofar as they

  seek discovery regarding Mr. Finn.        (Id. at 10-11.)    The court

  agrees.

             Initially, the court acknowledges that the assertions

  of the parties regarding Mr. Finn appear to present a factual

  dispute regarding the circumstances under which Mr. Finn arrived

  at GDC and the areas to which he was allowed access while the

  FBI searched the premises.      According to defendants’ version of

  the events, GDC surveillance video establishes that Mr. Finn

  arrived at GDC “approximately 15 minutes after the agents

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  started the search shortly after 7:00 a.m” and was “allowed to

  wander, unescorted . . . during [the] search.”           (ECF 91-3, Defs.

  Pros. Misconduct Mem., at 9; see also Howard Aff. at ¶ 44

  (“Interviews with GDC staff have revealed that, unlike the GDC

  employees, who were sequestered in the cafeteria and guarded by

  FBI and Postal Inspectors during the search and seizure, Mr.

  Finn was permitted to walk around the office without a law

  enforcement escort.”).)      On the other hand, according to the

  government, Veronica Finn called her husband after obtaining the

  permission of Special Agent Vincent Gerardi, but Martin Finn did

  not arrive at GDC’s headquarters until “[a] few hours later” and

  then sat with his wife in the “company’s cafeteria area” during

  the search.    (ECF No. 97, Govt. Pros. Misconduct Mem., at 12.)

  Despite the fact that both parties argue that there were

  witnesses to Mr. Finn’s presence at GDC on that date, neither

  party supports its version of the events with any affidavits

  from witnesses with knowledge or other evidence.          (ECF No. 91-1,

  Defs. Mot. Suppress, at 13 (“witnesses advise that [Finn] was

  free to move about during the search”); ECF No. 97, Govt. Pros.

  Misconduct Mem., at 11-12 (suggesting that Special Agent Vincent

  Gerardi would have knowledge of the events in question).)

  Defendants did not produce the GDC surveillance video with the

  timestamps upon which they rely in support of their version of

  Mr. Finn’s arrival and presence at GDC.        (See Howard Aff. at

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  ¶ 45.)   Nor do defendants assert that any corporate officer of

  GDC objected to the presence of Mr. Finn during the search.

             Defendants’ assertions do not satisfy their very heavy

  burden of establishing misconduct by the government.            Without

  providing factual support for their contentions regarding Mr.

  Finn’s alleged conduct during the search, defendants’ request

  for an evidentiary hearing, as the government asserts, is

  nothing more than an attempt to re-litigate issues that were

  extensively briefed in defendants’ motion for discovery and a

  bill of particulars and decided by the court in a decision

  issued December 30, 2010.       As the court ruled previously,

  defendants’ requests for particulars regarding Mr. Finn’s

  presence during the search were “speculative,” and were

  accordingly denied.        (See ECF No. 84, Memorandum & Order, dated

  Dec. 30, 2010.)    Defendants’ assertions in the instant motions

  regarding Mr. Finn’s conduct during the search remain

  “speculative.”    Indeed, defendants have not proferred any

  evidence from a witness with knowledge that Mr. Finn’s presence

  was not authorized by a GDC officer or that he was granted

  unfettered access to GDC during the search.          Moreover, if, as

  defendants contend, all employees were sequestered in the GDC

  cafeteria during the search, defendants offer no explanation as

  to how “numerous employees” could have observed Mr. Finn’s

  allegedly unfettered access to all areas of GDC’s premises.

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             Notwithstanding the deficiencies in defendants’

  factual proffer, the court finds that even if defendants’

  version were sufficiently supported, defendants have not

  established that the government committed prosecutorial

  misconduct in executing the search.        Defendants bear the “very

  heavy” burden of establishing outrageous government conduct.

  See, e.g., Rahman, 189 F.3d at 94.        Defendants do not cite a

  single case to support their argument that Mr. Finn’s presence

  would rise to the level of prosecutorial misconduct.           (See

  generally ECF 91-3, Defs. Pros. Misconduct Mem., at 8-9, 19-20.)

  Further, the cases defendants cite for the general standard for

  prosecutorial misconduct are inadequate to establish that they

  have met their heavy burden with respect to Mr. Finn’s presence

  at the search because none of the cases even relate to the

  issuance or execution of search and seizure warrants.           (See

  cases cited in ECF No. 91-3, Defs. Pros. Misconduct Mem., at 17-

  18.)   Accordingly, defendants’ motions for relief on grounds of

  Mr. Finn’s presence during the search of GDC are denied.

                iii. Privileged Documents

             Similarly, defendants’ allegation that the government

  seized privileged documents during the search does not establish

  prosecutorial misconduct.      The court previously considered this

  argument at oral argument on defendants’ motion for discovery

  and for a bill of particulars on December 20, 2010.          The

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  government represented that a “taint team,” comprised of an

  agent and an Assistant United States Attorney not otherwise

  affiliated with the case, was still reviewing the documents it

  had isolated as potentially privileged, and although it had not

  yet identified any privileged documents, if it found any, it

  would produce them promptly to defendants.          (See ECF No. 84,

  Memorandum & Order, dated Dec. 30, 2010; see also Transcript of

  December 20, 2010 Oral Argument at 38-39.)          In its opposition to

  defendants’ instant motion, the government reiterated that “[i]f

  the Review Team determines that there are privileged documents,

  they will return the originals to counsel for Thomas Foley.             If

  the Review Team determines that there are potentially privileged

  documents which it believes are nevertheless not privileged, the

  Review Team will notify counsel for the defendants before the

  materials are turned over to the prosecuting AUSAs and the case

  agents.”   (ECF No. 97, Govt. Pros. Misconduct Mem., at 13.)

             On February 9, 2011, the court ordered the government

  “to produce any . . . privileged documents to defendants, and to

  notify defendants of any potentially privileged documents that

  the privilege team intends to turn over to the prosecuting

  AUSAs, by 2/25/11.”        (See Order dated Feb. 9, 2011.)      The

  government requested an extension (see ECF No. 115, letter dated

  Feb. 17, 2011), and on February 18, 2011, the court granted the

  government’s request and directed that the government produce

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  privileged documents no later than March 11, 2011.           (See Order

  dated Feb. 18, 2011.)      The court expects that the government has

  complied with this order.

             On this record, the court finds that, as a matter of

  law, the government followed appropriate procedures with respect

  to handling potentially privileged documents.            United States v.

  Crim. Triumph Capital Gr. Inc., 211 F.R.D. 31, 43 (D. Conn.

  2002) (“The use of a taint team is a proper, fair and acceptable

  method of protecting privileged communications when a search

  involves property of an attorney.”); United States v. Sattar,

  No. 02 Cr. 395, 2003 U.S. Dist. LEXIS 16164, at *64 (S.D.N.Y.

  Sept. 15, 2003) (approving the use of a taint team).            Similarly,

  the court finds that the mere fact that the government obtained

  privileged information does not mean it violated defendants’

  Sixth Amendment rights.      See United States v. Neill, 952 F.

  Supp. 834, 840 (D.D.C. 1997) (holding that the Sixth Amendment

  is violated only if privileged information is intentionally

  obtained and used to the defendants’ detriment at trial).

  Accordingly, defendants’ motions for relief based on the

  government’s seizure of privileged documents are denied.

                 iv. Defendants’ Salaries and Legal Fees

             Defendants next argue that the government directed

  Amalgamated Bank not to pay defendants’ salaries, and as such,

  violated defendants’ Fifth and Sixth Amendment rights by

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  depriving them of funds to pay legal counsel and mount a

  defense.   (ECF No. 91-3, Defs. Pros. Misconduct Mem., at 13-14.)

  Defendants also argue that they are “legally entitled” to

  advancement of legal fees from GDC, which the government has

  unlawfully withheld.       (See, e.g., ECF No. 90, Defs. Seizure

  Mem., at 12.)    In response, the government denies that it ever

  told Amalgamated Bank not to release funds to pay defendants’

  salaries, and even if it had, the facts are factually and

  legally distinguishable from the cases defendants cite.           (ECF

  No. 97, Govt. Pros. Misconduct Mem., at 14-22.)

             As discussed in detail supra, the court has found that

  defendants have not established any valid expectation that GDC

  would advance their legal expenses, and accordingly, defendants’

  Fifth and Sixth Amendment rights were not violated.

             Accordingly, defendants’ motions for relief based on

  prosecutorial misconduct on this ground are denied.

                  v. Unsealing Warrants

             Defendants argue that the government unnecessarily

  filed the seizure warrants under seal, delayed providing notice

  to GDC, and thereafter delayed “in unsealing the warrant

  affidavits, notwithstanding requests by counsel and an order by

  the Court.”    (ECF No. 91-3, Defs. Pros. Misconduct Mem., at 21.)

  In response, the government argues that there “was no

  unreasonable delay in unsealing the warrant affidavits, and no

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  deliberate delay of any kind.”       (ECF No. 97, Govt. Pros.

  Misconduct Mem., at 22.)      The government also notes that it

  emailed copies of the warrant affidavits to defendants in

  October 2010, three months after the warrants were executed and

  three months before defendants filed the instant motion.           (Id.

  at 22-23.)

               Neither party cites any legal authority in support of

  their arguments as to whether the three-month delay in unsealing

  the warrants was reasonable or not, and left their dispute

  entirely to the court to research and determine.          The court

  finds the parties’ advocacy lacking, and expects better of

  attorneys who appear before it.       However, the court has

  undertaken an independent analysis of the law and has determined

  that defendants’ motions to dismiss the Indictment based on a

  three-month delay in unsealing the seizure affidavits and

  warrants are without merit.

               The decision of whether to seal an affidavit in

  support of a search or seizure warrant is a decision left to the

  discretion of the court.      See, e.g., In re Application of

  Newsday, Inc., 895 F.2d 74, 79 (2d Cir. 1990); In re Search

  Warrant, No. 18-65, 1995 U.S. Dist. LEXIS 9475, at *7 (S.D.N.Y.

  July 6, 1995).    However, when a party requests access to inspect

  sealed documents, that request must be heard by the court.            In

  re Search Warrant, 1995 U.S. Dist. LEXIS 9475, at *7.           Further,

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  “disclosure [of a sealed document] should not be postponed

  indefinitely.”     In re Searches of Semtex Indus. Corp., 876 F.

  Supp. 426, 429 (E.D.N.Y. 1995).

             Here, it is undisputed that the warrant affidavits

  were sealed when they were filed and the search and seizure

  warrants were issued on July 21, 23, and 27, 2010.          One month

  and eighteen days after the first affidavits and search and

  seizure warrants were filed under seal, on September 8, 2010,

  the government moved for “an order unsealing the search warrant,

  the seizure warrants, and the affidavit in support of the search

  and seizure warrants” (ECF No. 33), which the court granted the

  following day, on September 9, 2010 (Order granting Motion to

  Unseal, dated Sept. 9, 2010).       On October 8, 2010, after the

  government reported that the Clerk’s Office had not yet unsealed

  the affidavits, the court again ordered the warrants and

  affidavits unsealed and directed counsel for the government to

  work with the Clerk’s Office to ensure that such unsealing was

  properly and expeditiously accomplished.        (See Minute Entry

  dated Oct. 8, 2010.)       Also on October 8 and 10, 2010, the

  government emailed copies of all of the affidavits in support of

  the warrants to defendants.      (ECF No. 97, Govt. Pros. Misconduct

  Mem., at 22-23.)     The court finds that the government’s one-

  month and eighteen day delay in moving to unseal the search

  warrant, seizure warrants, and the affidavits in support of the

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  search and seizure warrants, and the three-month delay in

  unsealing the remaining affidavits are not sufficient to

  establish prosecutorial misconduct.        See, e.g., Semtex Indust.

  Corp., 876 F. Supp. at 429 (after search warrant was executed,

  directing that search warrant documents be unsealed within three

  months of the court’s opinion).

               Accordingly, defendants’ motions to dismiss the

  Indictment on the ground that the government improperly delayed

  in unsealing the affidavits in support of the search and seizure

  warrants are denied.

                  vi. Use of Grand Jury

               Defendants argue that the government is improperly

  using the grand jury to “continue to investigate the charges

  specified in the Indictment.”       (ECF No. 91-3, Defs. Pros.

  Misconduct Mem., at 14.)      Specifically, defendants object to the

  grand jury subpoenas served on Stephanie Horton, defendant

  Dupree’s fiancée, and Chauncey Dupree, defendant Dupree’s

  brother.   (Id.)    Defendants assert, with support of an affidavit

  from counsel for Stephanie Horton and Chauncey Dupree, that AUSA

  Yaeger told counsel that his case against defendants was “thin.”

  (Id.; ECF No. 91-4, Affidavit of Michael A. Battle, dated Jan.

  10, 2011.)    Although defendants acknowledge that there are other

  “potential reasons why a prosecutor may continue investigating a

  matter after the first indictment,” (ECF No. 91-3, Defs. Pros.

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  Misconduct Mem., at 23), defendants surmise that the

  government’s “dominating purpose” for subpoenaing Stephanie

  Horton and Chauncey Dupree to testify before the grand jury is

  “to obtain information [it can] use at trial.”           (Id.)

             It is “improper for the Government to use the grand

  jury for the sole or dominant purpose of preparing for trial

  under a pending indictment.”       United States v. Leung, 40 F.3d

  577, 581 (2d Cir. 1994).      However, “[b]ecause a presumption of

  regularity attaches to grand jury proceedings, a defendant

  seeking to exclude evidence obtained by a post-indictment grand

  jury subpoena has the burden of showing that the Government’s

  use of the grand jury was improperly motivated.”           Id. at 581

  (citations omitted.)       When a post-indictment subpoena relates to

  a proper dominant purpose, such as investigating an as yet

  uncharged individual or preparing a superseding indictment

  against individuals already charged, the resulting evidence is

  not barred.    United States v. Jones, 129 F.3d 718, 723 (2d Cir.

  1997) (“Post-indictment action is permitted to identify or

  investigate other individuals involved in criminal schemes, or

  to prepare superseding indictments against persons already

  charged.” (citations omitted)); United States v. Blech, 208

  F.R.D. 65, 67 (S.D.N.Y. 2002) (citation omitted).          The fact that

  the grand jury does not subsequently indict other individuals or

  supersede its indictment of the defendants is not dispositive

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  proof that its investigation was improper.         Leung, 40 F.3d at

  581-82.

             Defendants contend that the government’s “dominating

  purpose” for continuing to use the grand jury is to prepare for

  trial under the pending Indictment.        The government countered

  that it issued grand jury subpoenas as part of a continuing

  investigation and offered to discuss the nature and breadth of

  the investigation with the court ex parte and in camera.           (ECF

  No. 97, Govt. Pros. Misconduct Mem., at 23-24.)          On February 11,

  2011, the court ordered the government submit a letter ex parte

  outlining the “nature and breadth” of the government’s

  continuing grand jury investigation in this case.          (Order dated

  Feb. 11, 2011.)    The government submitted a letter ex parte for

  the court’s in camera review on February 17, 2011.          (ECF No.

  120, Letter dated Feb. 17, 2011.)         Based on a careful

  consideration of the information provided to the court in the

  government’s ex parte submission, the court finds that the

  government’s continued use of the grand jury is appropriate, and

  denies defendants’ request for relief on this ground.

                vii. Discovery Disputes

             Finally, defendants argue that that the government

  “has intentionally left Defendants in the dark regarding the

  details underlying the charges, thereby preventing them from

  preparing a proper defense.”       (ECF No. 91-3, Defs. Pros.

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  Misconduct Mem., at 24.)       In response, the government argues

  that defendants are attempting to re-litigate issues already

  decided and circumvent the requirement to file a motion for

  reconsideration.     (ECF No. 97, Govt. Pros. Misconduct Mem., at

  24).   The court agrees.     After considering defendants’ lengthy

  motions for discovery and for bills of particulars and after

  hearing oral argument by the parties, the court issued a

  detailed opinion addressing these issues.          (ECF No. 84,

  Memorandum & Order, dated Dec. 30, 2010.)          The court does not

  intend to revisit these rulings in a motion repackaged as a

  claim for prosecutorial misconduct and directs the parties to

  adhere to the rulings and dates set forth in the court’s

  December 30, 2010 Memorandum & Order.19

              Accordingly, for the reasons set forth above,

  defendants’ motions for dismissal of the Indictment are denied.

  The court has considered defendants’ allegations both


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                Defendants argue that the government’s “failure to clarify the
  different acts underlying Counts One and Two of the Indictment by January 4,
  2011” is evidence of the government “repeatedly ignor[ing] [the] Court’s
  orders regarding the production and identification of documents and necessary
  information.” (ECF No. 91-3, Defs. Pros. Misconduct Mem., at 15.)
  Defendants misunderstand the court’s December 30, 2010 ruling on this issue.
  The court interpreted the plain and clear language of Counts One and Two of
  the Indictment and found that those counts alleged that defendants committed
  the same core acts with respect to both Counts One and Two. (See ECF No. 84,
  Memorandum & Order, dated Dec. 30, 2010, at 19-20.) Accordingly, the court
  directed the government to advise defendants by no later than January 4,
  2011, “if [the court’s] reading [was] incorrect,” and disclose which acts
  defendants are alleged to have committed with respect to Count Two that are
  different than those alleged in paragraphs 1 through 14 of the Indictment.
  (Id. (emphasis added).) The court understands the government’s lack of
  further response on this issue to confirm that the same core acts underlie
  both Counts One and Two of the Indictment.

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  individually and as a whole, as defendants urge, and finds that

  they have not sustained their heavy burden to show that the

  government’s conduct “shocked the conscience.”           Defendants’

  request for an evidentiary hearing on their allegations of

  prosecutorial misconduct is accordingly denied.



                                  CONCLUSION

             For the foregoing reasons, defendants’ motions seeking

  relief from the seizure of funds are denied.         Defendants’

  motions to suppress evidence seized during the search of the

  offices of GDC and its subsidiaries are denied.           Defendants’

  motions to dismiss the Indictment are denied.            Defendants’

  motions for a Franks and Monsanto hearing are denied.            The

  parties shall appear for a status conference on March 25, 2011

  at 10:00 a.m.



  SO ORDERED.



  Dated: March 18, 2011
         Brooklyn, New York


                                            ___________/s/______
                                            KIYO A. MATSUMOTO
                                            United States District Judge
                                            Eastern District of New York




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